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Bl (Official Form 1) (4/10)

 

United States Bankruptcy Court
Eastern I)istriet of Louisiana

Voluntary Petiti'on

 

 

Name of Debtor (il` individual, enter Last, First, Middle);
Friend, Richard D

Name ot" Joint Debtor (Spouse) (last, First, Middle):

 

All Other Narrtes used by the Debtor in the last 8 years
(inelude married, inaiden, and trade names):

Richard D Friend, MD

All Other Names used by thc Joint Debtor in the last 8 years
(include married, maiden, and trade names):

 

last four digits of Soc. Sec. or bidividual-Taxpayer I.D. {IT]N) No,/Complete
EIN (ii` more than one, state all): 9321

last four digits ofSoc. Sec. or lndividual-Taxpayer i.D. (TTTN) No./Compiete
EIN (if more than one, state all}:

 

Street Address of Debtor (No. & Street, City, State & Zip Code}:

747 Libby Lane
ZiPCODE 70471

St:'eet Address of.loint Debtor (No. & Street, City, State & Zip Code):

Z]PCODE

 

Mandevi||e, LA
County of Residence or of the Pn'_ncipal Place of Business:
'St. Tammany

County of Residenee or of the Principal Plaee ol"Business:

 

Mailing Addrcss of Debtor (if different from street address)

 

ZIPCODE

Mailing Address of Joint Debtor (if different ii'om street address):

ZIPCODE

 

Location of Frincipal Assets of Business Debtor (if different from street address above):

ZlPCODE

 

Type ol` Debtor

See Exhib£t D on page 2 of`thtsform. U.S.C. § lOl($lB)

|:] Corporation (includes Ll_lC and LLP) |:] Railroad
[] Paitnership l:] Stoekbroker
[:| Other (If debtor is not one of the above entities, [:j Commodity Brokcr
check this box and state type of entity below.) l:i Clearing Bank
Other

 

Nature of Business

Chapter of Bankruptcy Code Under Whieh

(Form of Organization) (Cheek one box.) the Petition is Filed (Cheek one box.)
{Che°k one box') |:| Health Care Business MChapter 7 ij Chapter 15 Petition for
|Jlndividual (inc!udes loint chtors) |:| Si.ngle Asset Real Estate as defined in l l l:\ Chapter 9 Recognition of a Foreign

]:] Chapter ll
[:] Chapter 12
l:l Chapter 13

Main Procceding

l:i Chapter l5 Petition for
Recognition of a Foreig;n
Nonmain Proceeding

Nature of Debts
(Chec:k one box.)
|:I Debts are primarily consumer

 

Debts are primarily

 

 

lnternal Revcnue Code).

Tax-Exempt Entity
(Check box, if applicable.}
|:] Debtor is a tax-exempt organization under
Title 26 of the United States Codc (the

debts, defined in l l U.S.Ci business debts.
§ 101(3) as “incurred byan
individual primarily for a
personal, family, or house-
hold purpose.“

 

 

Filing Fce (Check one box)
|E’Full Filing Fee attached

|:l Filing Fee to be paid in installments (Applicable to individuals
only). Must attach signed application for the court’s
consideration certifying that the debtor is unable to pay fee
except in installments Rule 1006(b). See Official Form 3A.

Check if:

|:| Filing Fee waiver requested {Applicable to chapter 7 individuals
only). Must attach signed application for the court’s
Considerationi See Off'teial Fon‘n 3B.

 

Chapter ll Debto rs

Check one box:

|:| Debtor is a small business debtor as defmed in ll U.S.C. § 101{5!D).
!:| Debter is not a small business debtor as defined in ll U,S.C. § 101(51D).

l:| Debtor`s aggregate noncontingent liquidated debts owed to non-insiders or affiliates are less
than $2,343,30(] (dmount subject to a€§imtment on 4/0]/13 and every three years thereafter).

Check all applicable boxcs:

|:] A plan is being filed with this petition

|:] Acceptances of the plan were solicited prepetition from one or more classes of ereditors, in
accordance with ll U.S.C. § 1126(b}.

 

StatisticalfAdministrative Information

distribution to unsecured creditors

l:i Debtor estimates that funds will be available for distribution to unsecured creditors
Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for

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COURT USE ONLY

 

Estiinated Number of Creditors

 

 

 

$50,000 $lU0,0GO $500,000 $l million $10 million

l:l [:l |:l l:l l:l [:l [l l:l |3

l-49 50-99 100~f99 200-999 l,OOO~ 5,0(}1- 10,001- 25,001- 50,001- Over
5,000 10,000 25,000 50,000 100,000 IOU,UGO

Estimated Assets
ll |:l |:l l:l l:l l:l |:l |:| i:l
$t) to $50,001 to $100,001 to $500,001 to $1,000,0()1 to $I0,000,00I 550,000,001 to $100,000,001 $500,000,001 More than
$50,000 $100,000 $500,{)00 $l million $10 million to $50 million $100 million to $5(}0 million to $l billion $i biilion
Estimated Liabilities
|:i l:| l:l iii |:l E |:| [:] fl l:|
$0 to $50,001 to SlO{),O()l to $500,001 to $1,000,001 to $10,(}00,001 $5{),0{)0,001 to $100,000,001 $500,000,001 More than

to $50 million $100 million

 

 

to $5()(} million to $l billion $l billion

 

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Bl (Oflicial Forrn l) (4/10) Page 2
Voluntary Petition Na_me of D_ebtor(s):

(let`.s page must be completed and_/iled in every case) F"end’ R'chard D

Prior Bankruptcy Case Filed Within Last 8 Years (lt` more than two, attach additional sheet)

1isocation Case Number: Date Filed:

Where Filed:NOne

Location Case Number: Date Filed:

Where Filed'.

Pending Bankruptcy Case Filed by any Spouse, Partner or Afii]iate of this Debtor (Ifmore than one, attach additional sheet)

Name of Debtor: Case Number: Date Filed:

None

District: Relationship: Judge:

Exhibit A Exhibit B

(To be completed if debtor is required to tile periodic reports (e.g., forms
lOK and iOQ) with the Securities and Exchange Commission pursuant to
Section 13 or lS(d) of the Securities Exchange Act of 1934 and is

(To be completed if debtor is an individual
whose debts are primarily consumer debts.)

I, the attorney for the petitioner named in the foregoing petition, declare

requesting relief under chapter ll‘) that l have informed the petitioner that [he or she} may proceed under
chapter 7, ll, 12, or 13 of title ll, United States Code, and have
explained the relief available under each such chapter. l further certify
that l delivered to thc debtor the notice required by § 342(b) of the

Bankruptcy Code.

X

Signature of Attomey for Debtor(s)

|:l Exhibit A is attached and made a part of this petition.

 

Date

 

 

Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
or safety?

§ Yes, and Exhibit C is attached and made a part of this petition.
No

 

EXhihit D
(To be completed by every individual debtor. If a joint petition is i‘iled, each spouse must complete and attach a separate Exhibit D.)
M Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is ajoint petition:
|:l Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

 

Informatien Regarding the Debtor ~ Venue
(Check any applicable box.)
|?f Debtor has been domiciled or has had a residence, principal place ofbusiness, or principal assets in this District for l 80 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other District.

There is abankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

i:l
l:l

Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in afederal or state court]
in this District, or the interests ot` the parties will be served in regard to the relief sought in this District.

 

Certij”ication by a Debtor Who Resides as a Tenant of Residential Property
(Check all applicable boxes.)
Landlord has a judginth against the debtor for possession of debtor’s residence (If box checked, complete the following.)

 

(Name of landlord or lessor that obtained judgment)

 

(Address of landlord or lessor)

Debtor claims that under applicable nonbankruptcy law, there are circumstances under Which the debtor would be permitted to cure
the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

l:l

Debtor has included in this petition the deposit with the court of any rent that would become due during the 150-day period after the
filing of the petition.

|:} Debtor certities that lie/she has served the Landlord with this certification (l l U,S.C. § 362(1)).

l:!

 

 

 

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Bi (oaiciai ram 1) (4/10)

Pagc 3

 

Voluntary Petition
(Thfs page must be completed ondjz`led in every case)

Name of Debtor(s):
Friendr Richard D

 

Signaturcs

 

Signature(s) of Debtor{s) (lndividual!.loint)

l declare under penalty of perjury that thc information provided in this
petition is true and correct

[If petitioner is an individual whose debts arc primarily consumer debts
and has chosen to file under Chapter 7] l am aware that I may proceed
under chapter 7, 1 1, 12 or l3 of title 1 1, United State Code, understand
the relief availabie under each such chapter, and choose to proceed under
chapter 7.

[lt" no attorney represents me and no bankruptcy petition preparer signs
the petition] lhavc obtained and read the notice required by 1 1 U.S.C. §
342(b).
1 request relief in accorda e with he chapter of title 1 l,
Codc, specified in this

Signature of Debtor

X

Signatun: ofJoint Debtor

  

nited States

  

 

Richard D Friend

 

 

Tclephone Numhcr (If not represented by attorney}

Auqust 26, 2010
Dale

Signature of a Foreign Representative

l declare under penalty of perjury that the information provided in this
petition is true and correct, that 1 am the foreign representative of a debtor
in a foreign proceeding, and that 1 arn authorized to file this petition
(Check only one box.)

|:i l request relief in accordance with chapter 15 of title ll, United
States Code. Certified copies of the documents required by 1 1 U.S.C.
§ 1515 are attached

|:] Pursuant to 1 1 U.S.C. § 1511, 1 request relief in accordance with the
chapter of title 1 1 specified in this petition A certiiied copy of the
order granting recognition of the foreign main proceedingis attached.

X

Sigt\ature of Foreign Representativc

 

 

Printed Narne oi'Foreign Representative

 

Date

 

 

 

Mark S. Goldstein 6098

Nlark S. Go|dstein

701 Poydras Street, Suite 3600
New Orleans, LA 70139-7735
(504) 581-2450 Fax: (504) 581-2461
mgoldstein@|shah.com

August 26, 2010

Date
*ln a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that thc attorney has no knowledge after an inquiry that tile
information in the schedules is incorrect

 

Signature of Debtor (Corporatioanartnership)

I declare under penalty of perjury that the information provided in this
petition is true and correct, and that l have been authorized to tile this
petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11,
United States Code, specified in this petition.

X

Sig‘naturc of Aulhorized lndividual

 

 

Printed Namc of Authorized Individusl

 

Title of Authorized lndividual

 

Date

 

 

Signat'ure of Non-Attorney Petition Preparer

l declare under penaity of perjury that: 1) 1 am a bankruptcy petition
preparer as delined in 1 1 U.S.C. § 1 10; 2) 1 prepared this document for
compensation and have provided the debtor with a copy of this document
and the notices and information required under'!l U.S.C. §§ llO(b),
llO(h) and 342(b); 3) if rules or guidelines have been promulgated
pursuant to il U.S.C. § llO(h) setting a maximum fee for services
chargeable by bankruptcy petition preparers, l have given the debtor
notice of the maximum amount before preparing any document for filing
for a debtor or accepting any fee from the debtor, as required in that
section. Ofticial Forrn 19 is attached

 

Printed Narne and title, if any, of Ban.icruptcy Pctition Preparcr

 

Social Securily Number (lf the bankruptcy petition preparer is not an individual, state the
Social Security number of the otficer, principal, responsible person or partner of the
bankniptcy petition preparer.) (chuired by 11 U.S,C. § 110.)

 

Address

 

X

Signature of Bankruptcy Pctition Preparer or oiiicer, principal, responsible person, or
partner whose social security number is provided above

 

 

D ate

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the bankruptcy
petition preparer is not an individual:

lf more than one person prepared this document, attach additional
sheets conforming to the appropriate official form for each person.

A bankruptcy petition preparer ’s failure to comply with the provisions
oftitle 11 and the Fedeml Rules ofBankmpicy Procea'ure may result
infine.s' or imprisonment or both 11 U.S. C. § l]O,' 18 U.S.C. §156.

 

 

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BID (Ofiicial Form l, Exhibit l)) (12/09)
United States Bankruptcy Court

Eastern District of Louisiana

]N RE: Casc No.

 

Friend. Richard D Chapter 7
Debtor(s)

EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
CREDIT COUNSEL]NG REQU[REMENT

Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. lf that happens, you will lose
Whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
to stop creditors’ collection activities.

Every individual debtormust file this Exhibit D. ff a joint petition is jiled, each Spouse must complete and file a separate ExhibitD. Checlc
One of the five statements below and attach any documents as directed

Ml. Within the 180 days before the filing of my bankruptcy case, I received a briehng from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
certificate and a copy of any debt repayment plan developed through the agencyl

[:] 2. Within the 180 days before the filing of my bankruptcy case, l received a briefing from a credit counseling agency approved by
the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
performing a related budget analysis, but l do not have a certificate from the agency describing the services provided to rne. Y ou must file
a copy cfa certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
the agency no later than 14 days after your bankruptcy case isjiled.

|___| 3. I certify that l requested credit counseling services from an approved agency but Was unable to obtain the services during the seven
days nom the time I made my request, and the following exigent circumstances merit a temporary Waiver of the credit counseling
requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]

If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
case. Any extension of the 550-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
counseling briefing.

[:] 4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement ] [Must be accompanied by a

motion for determination by the court.]

|:l lncapacity. (Defined in ll U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
of realizing and making rational decisions with respect to financial responsibilities.);

|:] Disability. (Defmed in ll U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
participate in a credit counseling briefing in person, by telephone, or through the Internet.);

m Aotive military duty in a military combat zone.
:I 5. 'i`he United Statcs trustee or bankruptcy administrator has determined that the credit counseling requirement of ll U.S.C. § 109(h)

does not apply in this district
I certify under penalty of perjury that thj%ation provided above is true and correct.
Signature of Debtor: _ v l 0 ' hA~'//

Deth MLH!-l,§l£§t£§lgw..cwww

melo-non DOC 1 nettennessee/mwnancean mandates 5 Of 5§,[,

 

 

Certificate Nurnber: 01267~LAE~CCr012015986

l|l|||l|||lll|l||ll|l|||||||||||i|l|||llll||!|l|l|ll||ll|||||l||||

01267-LAE-CC-01201§9E

CERTIFICATE OF CoUNsELING

 

 

l CERTIFY that on August 16, 2010, at 9:11 o'clock PM CDT. Richard D Friend
received from Money Managemcnt lnternational, Inc., an agency approved
pursuant to ll U.S.C. § 111 to provide credit counseling in the Eastern District of
Louisiana, an individual for group] briefing that complied with the provisions of
ll U.S.C. §§ 109(h) and lll.

 

A debt repayment plan was not prepared lf a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by telephonel

Date: August 16, 2010 By: /s/Amanda Brvan

 

Name: Arnanda Bryan

Title: Counselor

 

’*‘ lndividuals who wish to file a bankruptcy case under title ll of the United States Bankruptcy
Code are required to file with the United States Banlnuptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

 

 

 

 

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United States Bankruptcy Court
Eastern District of Louisiana

IN RE:
Friend, Richard D

Debtor(s)

a case under chapter 'I, ll, or l3.

Case No.

SUMMARY OF SCHEDULES

indicate as to each schedule whether that schedule is attached and state the number of pages in cach. Report the totals from Scheclules A, B, D, E, F, I, and 1 in the boxes
provided Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
determine the total amount of the debtor’s liabilities. lndiviciual debtors also must complete the “Statistical Surnmary cf Certain liabilities and Related Data” if they file

Chapter 7

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

AT'I`ACHED NUM'BER OF
NAME OF SCHEDU'“E (YES/NO) sHEsTs .Asssrs LlABrLITtss orman
A - Real Property ¥es 1 $ 315,110.00
B - Personal Property Yes 3 $ 72,162.43
C - Property Claimed as Exernpt Yes 1
D - Creditors Holding Secured Claims Yes 1 $ 285,951.44
E - Credrtors Hcldmg Unseoured Prrorrty yes 2 $ 1 021379|24
ClalIl'lS (Total of Clalms on Sehedulc E)
F - CreditorslI-Ioldlng Unsecured Yes 5 $ 390’848.90
Nonprtority Clanns
G - Exeoutory Contracts and Unexpireti
Yes 1
Leases
H - Codebtors Yes 2
l - Current lncome of individual yes 2 . $ 19,048.48
Debtor(s)
J - Current Expendrtures of Indlvidual yes 2 3 17’586-00
Debtor(s)
TOTAL 20 5 387,272.43 $ 779,179.58

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umrnary

United States Bankruptey Court
Eastern District of Louisiana

IN RE: Case No.

Friend, Richard D Chapter 7
Debtor(s)

STATISTICAL SUMMARY OF CERTA]N LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (ll U.S.C. §
101(8)), filing a case under chapter 7, ll or 13, you must report ali information requested beloW.

 

|JCheck this box if you are an individual debtor Whose debts are NOT primarily consumer debts. You are not required to report any
information here.

This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types cf liabilities, as reported in the Schedules, and total them.

 

 

 

 

 

 

 

 

Type of Liability Amount
Domcstic Support Obligations (from Schedule E) $
Taxes and Certain Other Deth Owed to Governrnental Units (t`rom Schedulc E) $
Claims for Death or Personal lnjury While Debtor Was lntoxicatcd (nom Schedule E) (whether
disputed or undisputcd) $
Student Loan Obligations (frorn Schedule F) $
Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
Schedule E 7 $
Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Scliedule F) $
` ToTAL s

 

State the following:

 

Average Incomc (&orn Schedule I, Line 16) $

 

Average Expenses (frorn Schedule J, Line 18) $

 

Current Monthly Income (i"J'om Form 22A Line 12; OR, Form 22B Line ll ; OR, Form ZZC
Line 20 ) 5

 

 

State the following:

 

 

 

 

 

 

 

 

l. Totai from Schedule D, “UNSECURED PORTION, IF ANY” column $
2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column. $

3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column $
4. Total from Schedule F $
5. Total of non-priority unsecured debt (sum of l, 3, and 4) ' $

 

 

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Case No.

IN RE Friend, Richarc| D
Debtor(s)

SCHEDULE A - REAL PROPERTY

Except as directed bciow, list all real property in which the debtor has any legal1 equitable1 or future interest, including all property owned as a cotenant, community
property, or in which the debtor has a life estate Include any property in which the debtor holds rights and powers exercisable for the debtcr’s own benefit lfthe debtor is
married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W," “J,” or “C” in the column labeled “Husband, Wife, .Foint,
or Community.” li`the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

 

(rf reinm)

Do nut include interests in executory contracts and unexpired leases on this schedulel List them in Schedu le G - Executot'y Contracts and Unexpired Leases.

li` an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. if no entity claims to hold a secured

interest in the property, write “None" in the column labeied “Arnount of Secured Claim.”

lf the debtor is an individual or if a joint petition is liled, state the amount of any exemption claimed in thc property only in Schedule C - Property Claimed as Exempt.

 

DESCRIPTION AND LOCATION OF PROPERTY

NATUR.E OF D]SBTOR`S

HUSBAND, wrFE, JOINT,
GR COMMor~rrY

CURREN[ VALUF, GF
DEBTOR'S l'NTEREST l`N
PROPER'l"[ WlTlI{)U'[`

AMOUNT OF SECURED

 

 

 

 

 

 

 

TNTEREST {N PROPERTY DEDUCTlNG ANY CLAIM
SECURED CLAIM OR
EXEMPTION
Residence at 747 leby Lane, Mandevi||e, Louisiana 70471 315,110.00 285,951.44
TOTAL 315,110.00

 

 

(chort also on Summary of Schedules)

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A certain piece or portion of ground situated in Section 54, Township 7 Sout‘n, flange ll East, St
Tannnany Parisli, Louisiana, in that subdivision thereof l'<:nown as BEAU WEST SUBDIVISION,
PHASE l, as more fully shown on the map and plat ot` subdivision by Kelly l. Mc-Hugh &

Associates, dated March 20, 2000, on tile with'the Clerl< of Coul‘t for St Tarninaliy Parish as Map

File No. 1826, and being more particularly as L-O'l` 14, BEAU WEST SUBDWISION, PHASE l,
St Tammany Parish, Lonisiana. (tlie "Property")

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IN RE FrienchI Richard D

Case No.

 

Debtor(s}
SCHEDULE B - PERSONAL PROPERTY

(lf known)

Except as directed bclow, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
appropriate position in the column labeled "None." Il` additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
and the number ct` thc category If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H," “W,“ “J,” or
“C” in the column labeled “Husband, Wi_t`e, Joint, or Community,“ l[`the debtor is an individuai cr a joint petition is tiled, state the amount ot' any exemptions claimed only
in Schedule C - Property Claimed as Exempt.

Do not fist interests in executory contracts and unexpired leases on this schedule. List them in Schedule G ~ Exccutory Contracts and Unexpired Leases.

lf the property is being held Jfor the debtor by someone else, state that person’s name and address under “Description and location of Property,” lt` the property is being
held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardiarr." Do
not disclose the child’s name See, ll U.S.C. §112 and Fed. R. Bankr. P. 1007(111).

 

 

 

 

 

gm z consent vALUs oF
N § nnnron‘s lNTr~;REsT IN
rer or PRoPnn'rv § DEScluryrIoN ANI) location or r=noPEnrY ij 0 FR§;§§§TY[HT:§¥T
E ' § o seaman cLAiM oR
m =O< stMPTroN
§

l. Cash on hand cash 50.00

2. Checking, savings or other financial Capltal Ol‘le Checking account 100_00
a""“““.ts’ cemncami °fdeposl* °r Capita| One savings account 100_00
shares rn banks, savings and loan, _
thrift building and loan, and Chase checking account 6_15
::;§:te§:,l:::;:§g::’e;";mdu Chase checking account 20_00
cooperativesl

3. security deposits with pubic maurice X
telephone companies, landlords, and
others.

4` Household goods and furnishings7 18" tva 24" tv With dVd Player 150.00
mcii‘de a“td‘°’ “de°’ and wmqu 2 refrigerators, dishwasher, microwave, oven, washer, dryer, 2,500.00
mmme ' desk, 2 twin beds, 1 king bed, 3 dressers, 2 night stands,

bookcase, 2 chairs

5. Books, pictures and other art objects, x
antiques, stamp, coin, record, tape,
compact disc, and other collections or
collectibles.

6. Wearing apparel, clothing 500-00

7. Furs and jewelry 20" gold chain 100.00

Maurice Lacroix GMT automatic men's watch 200.00
Men's wedding ring 100.00

g‘ Firearms and Spmi photogmphic, treadmill and exercise bike 100,00
and other hobby equipment

9, interest in insurance pn]i@ies_ Name Who|e Life |nsurance Po|icy with Southern Farm Bureau l_ife 6,451.24
insurance company of each policy and lr'lS|..|I’al‘lCe COmpai"ly
itemize surrender or refund value of
each.

10. Annuities. Itemize and name each X
issue

ll, lnterests in an education lRA as x
defined in 26 U.S.C. § 530(1))(1} or
under a qualified State tuition plan as
defined in 26 U.s.C. § 529(b)(1}.
Give particulars (File separately the
record(s) of any such interest(s}. ll
usc § 521(0).)

12. Interests in lRA, ERISA, Keogh, er Retirement Aecount (through LSUIBogalusa Medica| Center) 41,035.04
other pension or profit sharing plans with lNG North America insurance Corporation
Give particulars

 

 

 

 

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crm b

lN RE Friend, Richard D

Debtor(s)

Case No.

 

tit rolown)

SCHEDULE B - PERSONAL PROPERTY

(Continuation Sheet)

 

TYPE OF PROPERTY

l'-IZOZ

DESCRIPTION AND LOCATTON OF PROPER.TY

H[,JSBAND, WH'"E, JOIN"F,
OR COMIMUNITY

CURRENT VALUE OF
DEB'I`OR'S INTEREST l'N
FROPER'[`Y Wl'l`HOUT
DEDUCTING ANY
SECUR.ED CLAIM OR
EXEMPTION

 

 

13.

14.

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31.

Stock and interests in incorporated
and unincorporated businessesl
Iternize.

Interests in partnerships or joint
ventures ltemizc.

Govemnrent and corporate bonds and
other negotiable and non-negotiable
instruments

Accounts receivable

.t¢tlirnony1 maintenance1 support, and
property settlements in which tire
debtor is or may be entitled. Give
particulars `

Oth er liquidated debts owed to debtor
including tax refunds Give
particulars

Equr`table or future interest, life
estates and rights or powers
exercisable for the berrth of the
debtor other than those listed in
Schedule A - Real Property.

Contingent and noncontingent
interests in estate of a decedent, death
benefit plan1 life insurance policy, or
trust.

Other contingent and unliquidated
claims of every nature, including tax
refunds counterclaims of the debtor,
and rights to setoff claims. Give
estimated value of each.

Patents1 copyrights1 and other
intellectual property. Give particulars

Licenses, franchises and other
general intangibles Give particulars
Customer lists or other compilations
containing personally identifiable
information (as defined in ll U.S.C. §
lOl(4lA)) provided to the debtor by
individuals in connection with
obtaining a product or service from
the debtor primarily for pcrsonal,
l`amily, or household purposes

Automobiles, trucks, trailers, and
other vehicles and accessories

Boats, motors, and accessories
Air'crai’t and accessories

Office equipment, l`ur‘nishings, and
supplies

Maehinery, fixtures equipment, and
supplies used in business

lnventory.
Anirnals.

 

|Phone

 

lawsuit against United Behavioral Hea|th for wrongful denial of
health care coverage

John Deere 4 wheeler

 

 

20,000.00

500.00

50.00

 

 

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IN RE Friend, Richard D Case No.
Debtor(s) (lt` }cuown)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
g
Z
5 >~
q i; cURRENT vALUE 0F
N §§ § DEBTOR'S INTEREST 1N
. ` 0 ~ , . FROFERTY WITI [OUT
1va oF PRoPERTY N ovscrupl roN ANI) loc/mow oF PROPERTY § § DEDUCT]NG ANY
E § 8 SECURED C,LAIM oR

§§ § F.XEWUON
[IJ
§

32. Crops ~ growing or han/estod. G"ive x

particularsH

33. Farming equipment and implements. X

34. Fa.n'n Supp]ies, Chemicals, and focd. x

35_ Oth¢r personal prgpcny Ofany kind Refund due from Travelers for insurance premium on 2404 Olde 200.00

not already lisce<i. Itemize. Oak Pointe, OCean Springs, MS 39564
TOTAL 72,162.43

mg continuation Sheets attached

 

 

 

(!nclude amounts from any continuation sheets attached

Report total also on Summary of Schedules.)

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[N RE Friend, Richard D

Debtor(s)
SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor elects the exemptions to which debtor is entitled under:

(Check one box)

[:| 11 U.s.c. § 522(b)(2)
11 u.s.c. § 522(b)(3)

Case No.

 

{ lf known)

!:] Check i_t` debtor claims a homestead exemption that exceeds $146,450. *

 

DESCR]PTION OF PROFERTY

SPECIFY LAW PROV`ID]NG F.ACH EXEWTION

VALUE OF CLA{MJ:`.D
EXEMI’TION

CUR.RENT VALUE
OF PROPER'[`Y
WI'I`] IOUT DEIJUCTING
EXEMFTIONS

 

SCHEDULE A - REAL PROPERTY

residence at 747 Libby Lane, Mandevi|ie,
Louisiana 70471

Property Description: LOT 14 BEAU WEST
SUB PH 1 |NST NO 1124020 |NST NO
1201073 |NST NO 1269849 INST NO
1392685 |NST NO 1392687 |NST NO
1532840 |NST NO 1555788 |NST NO
1704226 |NST NO 1704228

SCHEDULE B - PERSONAL PROPERTY

2 refrigerators, dishwasher, microwave,
oven, washer, dryer, desk, 2 twin beds, 1
king bed, 3 dressers, 2 night stands,
bookcase, 2 chairs

Men's wedding ring

Who|e Life insurance Policy with Southern
Farm Bureau Lii"¢=,l lnsurance Company

Retirement Account (th rough
LSUlBoga|usa Medica| Center) with |NG
North America |nsurance Corporation

lPhone

 

LSA-RS 20:1, Const. Art. 12, § 9

LsA-Rs 13:3331(A)(4)(a)

LsA-Rs 13:3381(A)(5)
LsA-Rs 22;555

LsA-Rs 20-33(1), 13:3381(13)(1) a (o)(z)
LsA-Rs 11=952.3

LsA-Rs 13:3881(A)(2)(b)

 

 

35,000.00

2,500.00

100.00
6,451.24

41,035.04

50.00

 

315,110.00

2,500.00

100.00
6,451.24

41 ,035.04

50.00

 

* Amountsubject to adjustment on 4/!/1'3 and every three years thereafter with respect to cases commenced on or aj?er the date ofaa§`u.s'tment.

 

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]N RE Friend, Richard D Case No.
Debtor(s) (lf lcnown)

SCHEDULE D - CREDITORS HOLDING SECURED CLA]]VIS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
date of Hling of the petition The complete account number of any account the debtor has With the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
security interests

 

List creditors in alphabetical order to the extent practicable If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian," Do not disclose the child‘s name See, ll U.S.C. § l 12 and Fed. R. Banl<r. P. l{)(]'i'(m). lt`all secured creditors
Will not fit on this page, usc the continuation sheet provided

lf any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
schedule of ereditors, and complete Schedule H j Codebtors. It`a joint petition is liled, state whether thc husband, wife, both of them, or the marital commimity may be liable
on each claim by placing an “l-l,” “W," “J,” or “C" in the column labeled “Husband, Wit`e, .loint, or Cornrnunity.“

lf the claim is contingent place an “X” in the column labeled “Contingent.” ll` the claim is unliquidated, place an “X” in the column labeled “Unliquidatecl.” It` the claim
is disputed, place an “_X” in the column labeled “[)isputed.” (You may need to place an “X" in more than one of these three cohlrnns.)

'l`otal the columns labeled “Amount ol` Claiin Without Deducting Value of Collateral” and “Unsec\_.lrcd Portion, if An}f’ in the boxm labeled ‘“l`otal(s)” on the last sheet
of` the completed schedulel Report the total from the column labeled “Amount of C!aim Without Deducting Value of Collateral” also on the Summary of Sehedules and,
if the debtor is an individual with primarin consumer debts, report the total li'om the column labeled “Unsecured Portion, it`AnY’ on the Statistical Summary of Certain
Liabilities and Related Data.

|:| Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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csnuirok's NAME. AND MAILrNo ripeness E a mrs cLAiM WAS mcL'RRED, § ‘< § cLAlM wmiour
mcLquo ziP cons AND ACcouNT mJMBER. 53 3 NATuRE oF LIEN, AND DescRiPTloN AND vALoE oF § § DEDucTrNo UT`I.SECUR_ED
(See fnstmctfons Above.) g d O PROPERTY SUBJECT TO LI_EN 'Z g § VALUE OF PORHON’ nn ANY
o § § 3 121 C> coLLAri;RAL
§ G :’
§
ACCOUNT NO. 2084 mortgage on 747 Libby Lane, Mandevi|te, 285,951.44
Standard Mortgage Loulslana 70471
701 Poydras Street
New Or|eans, LA 70139
VALUE $ 315,110.00
ACCOUN'I` NO.
VALUE $
ACCOUNT NO.
VALUE $ __
ACCOUNT NO.
vALUE $
Subtotal
_0_ continuation sheets attached (Total of this page) $ 235,951.44 $
Total
(Use only on last pagc) $ 285,951.44 $
[R\‘:pcrl also on (§f applicable, report
Summary of also on Stati.stical
Schedules,] Summaiy of Certain

Liabililles and Relatecl
Dala.)

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IN RE Friend, Richard D Case No.
Debtor(s} (lf known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets providedl Only holders of` unsecured claims entitled to
priority should be listed in this schedule ln the boxm provided on the attached sheets, state the uame, mailing address, including zip code, and last four digits of the account
number, if any, of all entities holding priority claims against the debtor or the property of the dcbtor, as of the date of the filing of` the petition Use a separate continuation
sheet for each type of priority and label each with the type of priority.

 

rlhc complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do s`o.
If' a minor child is a creditor, state the chifd's initials and the name and address of the child's parent or guardian1 such as "A.B., a minor child, by John Doe, sonrardian." Do
not disclose the child's name See, ll U.S.C. §112 and Fed. R. Banlcr. P. lOO”/'(m).

lf any entity other than a spouse i.u a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
schedule of creditors and complete Schedule l-I-Codebtors, lf` a joint petition is Eled, state whether thc husband, Wife, both ofthem, or the marital community may be liable
on each claim by placing an "I-f," "W," "J," or "C" in the column labeled ”Husband, Wii`c, loint, or Community." lf the claim is contingent place an "X" in the column labeled
"Contingcnt." lf the claim is unliquidated place an "X" in the column labeled ”Unliquidated," Ifthc claim is disputed, place an "X" in the column labeled "Disputed." {You
may need to place an "X" in more than one of these three columns .)

Report the total of claims fisted on each sheet m the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E' m the box labeled “Total”
on the last sheet of die completed schedule Report this total also on the Summary of Schcdules

Report the total of amounts entitEed to priority listed on each sheet in the box labeled "Subtotals" on each sheet Report the total of all amounts entitled to priority listed
on this Schedu]e E in the box labeled “Totals” on the last shoot of the completed schedule Individual debtors with primarily consumer debts report this total also on the
Statistical Sumrnary of Certain Liabilities and Rclated Data.

Report the total of` amounts got entitled to priority listed on each sheet in the box labeled “Subtotals” on each shect. Report the total of all amounts not entitled to priority
listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule lndividual debtors with primarily consumer debts report this total also on
the Statistical Sumrnary of` Certain Liabilities and Rclated Data.

[:] Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS (Check the appropriate box{es) below if claims in that category are listed on the attached sheets)

[] Domestic Support Obligations
Claims for domestic support that are owed to or recoverable by a spousc, fenner spouse, or child of` the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in l l
U.S.C. § 507(a)(l).

[:§ Extensions of credit in an involuntary case
Clairns arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relicf. l l U.S.C. § 507(a)(3).

|:] Wages, salaries, and commissions
Wages, salaries and commissions including vacation severance and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $l l ,725* per person earned within 180 days immediately preceding the filing of the original petition or the
cessation of business, whichever occurred first to thc extent provided in ll U S. C. § 507(a)(4).

|:] Contributions to employee benefit plans
Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, Whichever occurred first, to thc extent provided in l l U.S.C. § 507(a)(5).

[:| Certain farmers and fishermen
Ciaims of certain farmers and fisherrnen, up to $5, 775* per farmer or fisherman, against the debtor, as provided in l l U. S. C § 507(a)(6).

|_:| Deposits by individuals
Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal family, or household use, that
Wcre not delivered or provided ll U.S.C. § 507(a)(7).

M Taxes and Certain Other Deth Owed to Guvernmental Units
Taxes, customs duties, and penalties owing to federal, state, and local goverruncntal units as set forth in ll U.S.C. § 507(a)(8).

[:] Comrnitments to Maintain the Capital of an Insured Depository Institution
Claims based on commitments to the FDIC, RTC, Dircctor ofthe Offlce of’l`hrift Supervision, Cornptroller of the Currency, or Board of Governors
of the Federal Reserve Systcrn, or their predecessors or successors, to maintain the capital of an insured depository institution l l U.S.C. § 507 (a)(9).

|:| Claims for Death or Pcrsonal Injury While Debtor Was Intoxicated
Claims for death or personal injury resulting from the operation of a motor vehicle or vessel While the debtor was intoxicated from using alcohol,
a drug, or another substance l l U.S.C. § 507(a)(l 0).

* Ainounts arc subject to adjustment on 4/()1/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment

m1_ continuation sheets attached

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]l\l RE Friend, Richard D Case No.
Debtor(s) (If known)
SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
(Continuation Sheet)
Taxes and Other Certain Debts Owed to Governmental Units
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g
§ s
,~ . t 5 §§ § § 3 AMoUNr Mi\roourm
aa‘ii§§§`§i?¢%ttmd‘é`f§§§a??§§h;a § s § AN§;A§E CS§;§#R]\§T§§T;N§OL;§§E;M § s s "M§¥NT mem ENTHLED
rsee mcmann moral 3 § o ON §§ g § cLAlM PR];§HY PRIOT§ITY
0 4 § 3 pl g n= ANY ’
a 0 §
§
ACCOUNT NO. 9821 The |RS contends this X
|ntema] Revenue Service additional amount is owed for
P.o. Box16336 2°°8~
Phiiadelphiar PA 19114-0436
4,699.00 4,699.00
ACCOUNT NO. 9821 2008 income taxes
internal Revenue Service
P.O. Box 16336
Phllade|phia, PA 19114-0436
32,084.24 32,084.24
ACCOUNT NO. 9821 estimated amount for 2009
|nterna| Revenue Service (retum not yet Hna"zed)
P.O. Box 16336
Phi|ade|phia, PA 19114-0436
50,000.00 50,000.00
ACCOUNT NO. 6344 X Emp|oyment taxes - 2006 X
lnternal Revenue Servtce
Ogden, UT 84201-0039
10,000.00 10,000.00
ACCOUNT NO_ 9821 estimated amount for 2009
Louisiana Dept. Of Revenue (retum not yet finalized)
P.O. Box 1231 .
Baton Rouge, LA 70821-1231
5,000.00 5,000.00
ACCOUNT NO, 9821 2008 income taxes
Louisiana Dept. _Of Revenue
P.O. Box 1231
Baton Rouge, LA 70821-1231
596.00 596.00
Sheet no. _W__m'l of Wle continuation sheets attached to Subtotal
Schedule of Creditors Holding Unsecured Priority Claims (Totals of this page) $ 102,379»24 $ 102,379.24 $
Total
(Use only on last page of the completed Schedule E. Report also on the Summary ofSchcdules,] $ 102,379.24
Total
{Use only on last page of the completed Schedule E. if applicabfe,
report also on the Stan`slical Summary ofCertain Liabilities and Related Data.) $ 102,379.24 $

 

 

 

 

 

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IN RE Friend, Richard D Case No.
Debtor(s} (lf known)

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAll\/IS

State the name, mailing address, including zip code, and last four digits of any account number, ofa]i entities holding unsecured claims without priority against the debtor
or the property of the debtor, as of the date of filing ot` the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
the creditor and may be provided if the debtor chooses to do so. ].f a minor child is a creditor, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by .Iohn Doe, guardian.“ Do not disclose the child's name. See, ll U.S.C. §112 and Fed. Ri Bankr. P. lOOT(m). Do not include claims
listed in Schedules D and E. It`a]] creditors Will not tit on this page, usc the continuation sheet provided

 

lfany entity other than a spouse in a joint case may be jointly liable on a claim1 place an “X" in the column labeled “Codebtor," include the entity on the appropriate
schedule ot`creditors, and complete Schedule H - Codebtors. lf a joint petition is filed, state whether the husband, wife, both ofthern, or the marital community may be liable
on each claim by placing an “H,“ “W," “J," or “C” in the column labeled “Husband, Wife, Joint, or Comniun.ity."

If the claim is contingent place an “X“ in the column labeled “Corltingent.” lf the claim is unliql.lidatcd1 place an "X" in the column labeled “Unliquidated.” lt`the claim
is disputed, place an “X" in thc column labeled “Disputed." {You may need to place an “X” in more than one of these three columns.)

chort the total of all claims listed on this schedule in the box labeled “’l`otal” on the last sheet ot` the completed schedule Repo_rt this total also on the Summary of
Schetiules and, it` the debtor is an individual With primarily consumer debts, report this total also on the Statistical Summary of Certain liabilities and Related Data.

|:| Check this box if debtor has no creditors holding unsecured nonprion`ty claims to report on this Schedule F.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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caaoiroa‘s NAME, MAILn\IG Aot)aass 8 § § DATE ci_AlM was income AND § 4 § AMou'NT
rNcLUorNc ZiP cooa, AND AcCoUNT NUMBF.R. §§ :`>’_ § coNsloER»\noN Foa cLAiM, u= etAiM is § § or
(See instructions Ai)ove.) g § 8 SU'BJ'F.CT TO SETOFF, SO STATE § 9 g CLAIM
' Q § m 8 § D
w O
§
ACCOUNT No. 4582 X business loan
BancorpSouth
P.O. Box 789
Tupelo, MS 38802
66,52‘1.69
ACCOUNT NO. Assignee or other notification for:
Carl How BancorpSouth
Recovery Dept., BancorpSouth
P.O. Box 1231
Hattiesburg, MS 39403
ACCOUNT NO. 6467 X business loan
BancorpSouth
P.O. Box 789
Tupe|o, MS 38802
20,243.91
ACCOUNT NO. 9828 X business credit card
BancorpSouth
P.O. Box 3370
Tupelo, MS 38803-3370
4,236.06
Subtotai
JMMW& continuation sheets attached (Total ol` this page) $ 91,001.66
'f`otai l

(Usc only on last page of the completed Schedule F. Report also on
the Summai'y of Schedules and, if applicable, on the Statistical
Summary of Certain liabilities and Related Data.) $

 

 

 

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BEF
IN RE Friend, Richard D Case No.
Debtor(S} (If known)
SCH_EDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLA]l\/IS
(Continuation Sheet)
F
_ §§ § §
CREDITOR’S NAM_E, MAIL[NG ADDRESS § § § DATE CLA!M WAS [NCURRED AND § `< § AMOU`NT
INCLUDING ZlP CODE, AND ACCOUNT NUM'BER. § § CONS]DERATION FOR CLAIM. LF CLAEM lS § § § OF
(See lnstruc:io)r.r Abavei) § § 8 SUBJECT 'I`O SETOFF, SO STATE § g 3 CLAIM
0 0 o
g 5 0 §
§
ACCOUNT NO. 7166 loan on 2404 Olde Oak Pt, Ocean Springs, MS
Bancorpsouth Mortgage 23334-3931, property sold at short sale, June 7,
Mortgage Loan Center
P.O. Box 789
Tupe|o, MS 38802
0.00
ACCOUNT NO. Assignee or other notification for:
Bancorpsouth Mortgage BancorpSouth Mortgage
3778 West Jackson Street
Tupelo, MS 38801
ACCOUNT NO. 2578 X business line of credit
Bank Of America
P.O. Box 851001
Da||as, TX 75285-1001
44,658.1'|
ACCOUNT NO. Assignee or other notification for:
C|ient Services, lnc. Bank Of Ame"°a
3451 Harry Truman B|vd.
St. Char|es, MO 6330‘1-4047
ACCOUNT NO. 8671 X business credit card
Bank Of America
P.O. Box 851001
Da||as, TX 75285-1001
7,937.84
ACCOUNT NO. Assignee or other notification for:
C|ient Services, lnc. Bank Of Ame"ca
3451 Harry Truman B|vd.
St. Char|es, N|O 63301-4047
ACCOUNT NO. 2436 X business credit card
Chase Card Services
P.O. Box 94014
Pa|atine, lL 60094-4014
11,578.77
Siieet no. 1 of m4 continuation sheets attached to Subtotal
Schedu]e of Creditors Holding Unsocured Nonpriority Claims (Total of this page) $ 64,174.72
Total
(Use only on last page of the completed Schedu[e F. Roport also on
the Summauy of Schedules, and if applicable on the Statistical
Summary of Certain Liabilitid¢ and Relatcd Data.) $

 

 

 

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IN RE Friend, Richard D Case Ng_
Debtor(s) (lf known}
SCHEDULE F ~ CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Continuation Sheet)
[_,
§ ii §
d t
CREDITOR’S NAM.E, MAIL[NG ADDRESS 12 § DATE CLA]M WAS lNCURRED AND § < a AMOUNT
INCLUDrNG zlP ConE,AND ACCOUNT mJMBER. 55 3 cONS:DERAnON FOR CLAlM. l)FcLAlM 15 g § 5 oF
(See In.strucrion.r Above.) 3 Q”O SUB§'ECT TO SETOFF, SO STATE § 9 § CLA.lM
o §§ § 8 § o
§ c
§
ACCOUNT NO. 813~1 X business credit card
ChevroanE Money
P.O. Box 530950
Atlanta, GA 30353-0950
3,482.22
ACCOUNT NO. Assignee or other notification for:
The Law Office Of dohn P. Frye, P.C. chevr°n"GE M°ney
P.O. Box 13665
Roanoke, VA 24036-3665
ACCOUNT NO. Assignee or other notification for:
The Law Office Of John P. Frye, P.C. Chew°anE M°ney
P.O. Box 11767
Roanoke, VA 24022-1767
ACCOUNT NO. Uti|ities on 2404 O|cle Oak Pointe, Ocean Springs,
Houston Estates Utility MS 39564
3341 Gatti Place
Gautier, MS 39553
84.00
ACCOUNT NO‘ 8296 lease on 2008 infiniti 637
Infiniti Financial Services
P.O. Box 650679
Da||as, TX 75265-0679
9,297.94
ACCOUNT NO. 4759 X credit card - business expenses
Lowe'slGEMB
P.O. Box 530914
Atlanta, GA 30353~0914
5,128.37
ACCOUNT NO. Assignee or other notification for:
GE Money Bank Lowe sIGEMB
P.O. Box 36960
Canton, OH 44735
Sheet no. 2 of 4 continuation sheets attached to Subm¢a]
Schedule of Creditors llolding Unseeured Nonpriority Clairns (Total of this page) $ 17,992.53
Total

(USe only on last page of the completed Schedule F. Repr)rt also on
the Sulnmary of Sehedules, and if applicable on the Statistical
Summary of Certain liabilities and Related Data.)

 

 

 

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IN RE Friend, Richard D

SCHEDULE F - CREDITORS HOL})]NG UNSECURED NONPRIORITY CLAIMS

Debtor{s)

Case No.

(Continuation Sheet)

 

(If known)

 

CREDITOR'S NAME, MAIl.l`NG ADDRESS
]`NCLUDl'NG ZIP CODE, AND ACCOUNT NUMBER.
(See Inst'ructions/lbove.)

CODEHTOR
HUSBAND` \HFE JO[N'I`,
OR COMMUNI'[`Y

DATE CLAlM WAS INCURRED AN'D
CC|NSIDER.ATION FOR CLA[M. lF CLA[M lS
SUBIECT TO SETOFF, SO STATE

CONTH‘JGENT
UNLIQU]DATED

DISPUTED

AMOU'NT

CI.AIM

 

ACCOUN'T NO. 2472

 

Missouri Higher Education Loan Authority
P.O. Box 1022
Chesterfie|d, NlO 63006-‘1022

student loan

7,805.59

 

ACCOUNT NO. 758_7

 

0chsner Medica| Center
P.O. Box 60981
New Or!eans, LA 70160-0981

Listed in an abundance of caution

0.00

 

ACCOUNT NO.

 

Randy Smith
201 St. Charles Avenue, Suite 3702
New Orieans, LA 70170-3702

attorney's fees for business litigation

20,000.00

 

ACCOUNT NO.

 

Randy Smith
201 St. Charles Avenue, Suite 3702
New Orleans, LA 70170-3702

attorney's fees for litigation

11,409.76

 

ACCOUNT NO. 9994

 

Sears
P.O. Box 688956
Des Moines, |A 50368-8956

credit card - business expenses

1,372.90

 

ACCOUNT NO. 3274

 

She|| Card Center

Citicorp Credit Services, |nc.
P.O. Box 689151

Des Moines, |A 50368-9151

business credit card

2,007.68

 

ACCOUNT NO.

 

CBE Group
P.O. Box 2695
Waterloo, lA 50704-2695

 

 

 

 

Assignee or other notification for:
She!l Card Center

 

 

 

 

Sheet uo. § ofu‘l- continuation Shccts attached to
Schedule of Creditors Holding Unsecured Nonpn`ority Claims

Subtotal
{Total of this page)

Total

(Use only on last page of the completed Schedule F. Report also on
the Surnrnary of Schedoles, and if a];q;)ljeal:)le1 on the Statistical
Surnmary of Certain liabilities and Relatecl Data.)

$

42,595.93

 

 

 

 

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lN RE Friend, Richard D

Debtor(a)

SCHEDULE F ~ CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
(Conti'nuation Sheet)

Casc No.

 

(If known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

§ ii §
mg n
CR.EDITOR'S NAME, M)\ILlNG ADDRESS g § § DATE CLAIM WAS [NCURRED AND § < § AMOUNT
INCLUD[NG ZIP CODE, AND ACCOUN'I' NUMBER. § 5* § CONSIDERATION FOR CLAI_M, lF CLA]'M IS § § § OF
(See!nsnuctiunsAf)cv€.) g § 8 SUBJEC'[`TO SETOFF, SOSTATE § g 3 CLA]M
v § a 3 § °
§
ACCOUNT NO. Assignee or other notification for:
CBE Gr°up She|l Card Center
P.O. Box 2647
Waterloo, lA 50704-2647
ACCOUNT NO. Assignee or other notification for:
LTD Financial Services, L.P. She" Card center
7322 Southwest Freeway, Suite 1600
Houston, TX 77074
ACCOUNT NO, X Money Judgrnent (plus pre- and post-judgment
Singing River Hospital System 'nterest)
CIO Brett K. Williams
P.O. Box 1407
Pascagouia, MS 39568-1407
175,084.06
ACCOUNT NO, Assignee or other notification for:
Brett K_ Wi"iams Singing River Hospital System
711 De|mas Avenue
Pascagoula, MS 39568
ACCOUNT NO. Assignee or other notification for:
Brett K_ Wi"iams Slnglng Rlver Hospital System
P.O. Box 1618
Pascagou|a, lViS 39568-1618
ACCOUNT NO. 1 Assignee or other notification for:
Chris Anderson,_Chief Executive Officer S'ngmg R'Ver Hospital System
Singing River Hospital System
2101 Highway 90
Gautier, MS 39553
ACCOUNT NO, Assignee or other notification for:
Roy C‘ Wi"iams Srnging River Hospital System
Registered Agent
711 Delmas Avenue
Pascagoula, MS 39567
Shcot no. _4 cf 4 continuation sheets attached to Sui:»total
Schedulc of Creditors g Unsecurecl Nonpriority Clairns (Total of this page) $ 175,034.06
Tota]
(Use only on last page ofthe completed Schedule F. Repclt also on
the Summary of Schedules, and if applicable1 on the Statjstical
St.unmary of Certain Liabilitics and Relatcd Data.) $ 390,848.90

 

 

 

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IN RE Friend, Richard D Case No.

Debtor(s) (lf l<nown)
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. lnclude any timeshare interests State nature of debtor’s interest in
contract, i.e., “Purchaser," “Agent,” etc. State whether debtor is the lessor or lessee cfa lease Provide the names and complete mailing addresses of ali other parties to each
lease cr contract describedl If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the childs parent or guardian,
such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name See, l l U.S.C. §112 and Fed. R. Bankr, P. lOO"/{m}.

 

m Check this box if debtor has no executory contracts or unexpired leasesl

 

DESCRIFT[UN GF CONTRACF Ol{ LEASE AND NAT'U'RE O'F DEBTOR.`S lNI'ER.ES'I"
S'I`ATE W?TETHER. LEASE IS FOR NONRES]DI_",NTIAL REAL PRGPERTY.
STATF CONTRACT NU'NIHER OF ANY GOVERNNEENT CONT`RACTr

NAME AND MAILING ADDRESS, iINC]_.UDING ZIP CODE
OF OTHER PART[ES TO LEASE OR CC|NTRAC'}`

 

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lnfiniti Financiai Services
P.O. Box 650679
Da||as, TX 75265-0679 `

 

 

lease of 2008 lnfiniti 637
$588.53 per month
maturity date 4125/11

 

 

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IN RE Friend, Richard D Case No.
Debtor(s) (li` known)

SCHEDULE H - CODEBTORS

Provide the infonnation requmted concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
of creditors. lnclude all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth or territory (including Alaska, Arizona,
California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
of the case, identify the name of the debtor’s spouse and of any fortner spouse who resides or resided With the debtor in the community property state, commonwealth, or
territory lnclude all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. lf a minor child is a codebtor or
a creditor, state the childs initials and the name and address of the child's parent or goardian, such as "A.B., a minor child, by John Doe, guardia.n." Do not disclose the child‘s
name See, ll U.S.C. §112 and Fed. R. Bankr. P. l()D'/'(m).

 

]:| Check this box if debtor has no codebtors.

 

NAMB AND ADDRESS UF CUDEBTOR NAME AND ADDRESS UF CR‘BDITOR

 

Richard D. Friend, MD, PLLC BancorpSouth
CIO Richard D. Friend P.O. Box 789
747 Libby Lane Tupelo, MS 38802
Mandeviile, LA 70471
BancorpSoutl‘l
P.O. Box 789
Tupelo, MS 38802
BancorpSouth
P.O. Box 3370

Tupelo, MS 38803-3370

lnterna| Revenue Service
Ogden, UT 84201-0039

Bank Of America
P.O. Box 851001
Dal|as, TX 75285-1001

Bank Of America
P.O. Box 851001 .
Dal|as, TX 75285-1001

Chase Card Serviees
P.O. Box 94014
Pa!atine, |L 60094-4014

Lowe'slGEMB
P.O. Box 530914
Atlanta, GA 30353~0914

Sears
P.O. Box 688956
Des Moines, lA 50368-8956

Shel| Card Center

Citicorp Credit Services, |nc.
P.O. Box 689151

Des Moines, lA 50368-9151

ChevroanE Money
P.O. Box 530950
Atlanta, GA 30353-0950

Singing River Hospital System
C)'O Brett K. Williams
P.O. Box 1407

 

 

 

 

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IN RE Friend, Richard D

Case No,

 

Debtor(s) (If known)

SCHEDULE H - CODEBTORS
(Continuation Sheet)

 

NAME AND ADDRESS OF` CODEBTOR

NAME AN'D ADDRESS OF CREDITOR

 

 

Pascagou|a, MS 39568-1407

Randy Smith
201 St. Char|es Avenue, Suite 3702
New Orteans, LA 70170-3702

 

 

 

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]N RE Friend, Richard D Case No.
Debtor(s) (It` known)

SCHEDULE I - CURRENT lNCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, Whether or not a joint petition is tiled, unless the spouses
are separated and a joint petition is not tiied. Do not state the name of any minor child, The average monthly income calculated on this form may differ from the current
monthly income calculated on From 22A, ZZB, or 22Cv

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtol“s Marital Statt!s DEPENDENTS OF DEBTOR AND SPOUSE
Married RELArloNsHIP(s): A`GE(S);
Wife 52
Son 7
EMPLDYMENT: DEBTOR SPOUSE
Occupation 566 Schedule Aftached
Namc of Employer
How long employed
Address of Employer
INCOME: (Estirnate of average or projected monthly income at time case filed) DEBTOR SPOUSE
1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly) $ 24,920.00 $
2. Estimated monthly overtime $ $
3. SUBTOTAL |$ W 24,920.00 s

 

4. LESS PAYROLL DEDUCTIONS

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a. Payroll taxes and Social Security $ 4,751.34 $
b. Insurance $ $
c. Union dues $ $
d, Other (specify) See Schedule Attached $ 1,120.18 $
$ $
5. SUBTOTAL OF PAYROLL DEDUCTIONS $ 5,871.52 $
6. TOTAL NET MONTHLY TAKE HOM'E PAY $ 19,048.48 $
7. Regular income nom operation of business or profession or farm (attach detailed statement) $ $
8. Income from real property $ $
9. lntercst and dividends $ $
IO. Alimony, maintenance or support payments payable to the debtor for the debter’s use or
that of dependents listed above $ $
l l. Social Security or other government assistance
(Specify) $ $
` $ $
12. Pension or retirement income $ $
13. Other monthly income
(Sp@€ify) $ $
$ $
$ $
14. SUBTOTAL OF LINES 7 THROUGH 13 $ $
15. AVERAGE l\/IONTHLY ]NCOME (Add amounts shown on lines 6 and 14) $ m 19,048.48 $

 

 

 

16. COlVLBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15; `
if there is only one debtor repeat total reported on line 15) $ w 19@48.48

 

 

 

(Report also on Summary ofScheduls and, if applicable on
Statistical Summary ofCerta.in Liabilitics and Relaled Data)

l'/'. Describe any increase or decrease in income reasonably anticipated to occur within the year following the'l'iling of this document
None

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IN RE Friend, Richard D Case No.

 

Debtor(s)

SCHEDULE l - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
Continuation Sheet - Page 1 of 1

 

EMPLOWENT; DEBTOR SPOUSE
Occupation Physician
Name of Employer LSU Health Sciences Center
How long employed
Aclaress of Empluyer 433 Bo|ivar Street
` New Orleans, LA 70112-2223

Occupation PhySiCian

Name oi` Employer ` SCl‘lUmaChef GI"Ol.lp
How long employed ~ -

Address ol'Employer

DEBTOR
Other Payroll Deductions:
LSU First Option \ 434.68
ORP AETNA 550.00
Hartford Ltd 38.02
LSU Systems TL - Spouse 28.60
LSU Systems TL - Emplo 68.88

SPOUSE

W%a§c§l 195“16§)0(%%7§)00 1 Filed 08/26/10 Entered 08/26/10 11:09:01 |\/|ain Document Page 27 of 53

IN RE Friend, Richard D Case No.
Debtor(s) {If known)
SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average or projected monthly expenses ofthe debtor and the debtor’s family at time case filed Prorate any payments made biweekly,
quarterly, senn-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ nom the deductions from income allowed
on Form22A or 22C.

§ Checl< this box if a joint petition is filed and debtor’s spouse maintains a separate household Complete a separate schedule of

 

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expenditures labeled “Spouse.”

 

 

  

 

 

 

 

 

 

 

 

l. Rent or home mortgage payment (include lot rented for mobile horne) $ 2,35000
a, Are real estate taxes included? Yes ____,( No
b. ls property insurance included? Yes W,(____ No ___________
2. Utilities:
a. Electricity and heating fuel $ 250.00
b. Water and sewer $ 60.00
c, Telephone $
d. Other See Schedu|e Attached $ 600.00
$
3» HOm€ maintenance (rCPHiIS and Upkeepl $ ~. 36000
4. Food $ JMQMQ
5. Clothing $
6. Laundry and dry cleaning $
7. Medical and dental expenses $
8. Transp ortation (not including car payments) $ 850.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc. $ 400.00
10. Charitable contributions $ g _
l l. lnsurance (not deducted from Wages or included in home mortgage payrnents)
a. Homeowner’s or renter’s 5 _m ________________
b. Life $ mm_.m_m.._m§QQ-PO
c. Health $
d. Auto $ 400.00
e. Other $ 100.00
$
12. Taxes (not deducted li‘om wages or included in home mortgage payments)
(Specify) |ncome Taxes, 2008 And 2009 And Current Estimated Payments $ 8,900.00_
7 $
13. Installment payments: (in chapter ll, 12 and 13 cases, do not list payments to be included in the plan)
a. Auto ` - $ 588.00_
b. Other Student Loans $ 158.00
$
14. Alimony, maintenance, and support paid to others $ v
15. Payments for support of additional dependents not living at your home $ _~_ _
16. Regular expenses from operation of business, profession, or farm (attach detailed statement) $ __ _ _
l’i. Other Chi|d Care $ 200.00
Home Owners' Fee $ 20.00
$

 

» 18. AVERAGE MONTH'LY EXPENSES (Total lines l-l7, Report also on Surnmary Of Schedules and, if

applicable, on the Statistical Summary of Certain Liahilities and Related Data.

 

 

$_ 47§BSDQ

 

19. Describe any increase or decrease in expenditures anticipated to occur Within the year following the filing of this document

None

2{). STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I
b. Average monthly expenses from Line 18 above
c. Monthly net income (a. minus b.)

$ 19,048.48

s WWWWWWW t assess

 

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]N RE Friend, Richard D Case No.
Debtor(s}

SCHEDULE J a CURRENT EXPENDITURES OF IN])IVlDUAL DEBTOR(S}
Continuatien Sheet - Page 1 of l

 

 

Other Utilities
Ce|| Phone 350.00
Gas 50.00

Cable 200.00

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C OI’IIl

IN RE Friend, Richard D Case No.
Debtor(s) (trknown)

DECLARATION CONCERN]NG DEBTOR'S SCHEI)ULES

 

DECLAR_ATION UNDER PENALTY OF PERIURY BY INDIVIDUAL DEBTOR

I declare under penalty of perjury that l have read the foregoing summary d schedules, consisting of 22 sheets, and that they are
true and correct to the best of my knowledge, inforination, and by
». H~ f

Richard D Friend / nasa

 

Date: August 26, 2010 Signature:

 

Date: Signature:

 

(Joint Debtcr, if any)
[If joint case, both spouses must sign.]

 

DECLARATlON AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPAR_ER (See l l U.S.C‘ § llO)

l declare under penalty of perjury that: (l) l am a bankruptcy petition preparer as defined in ll U.S.C. § llO; (2) l prepared this document for
compensation and have provided the debtor with a copy ofthis document and the notices and information required under l l U.S.C. §§ l lO(b), l lO(h),
and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to l l U.S.C. § l lO(h) setting a maximum fee for services chargeable by
bankruptcy petition prcparers, l have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
any fee from the debtor, as required by that section.

 

 

Pn'nted or Typed Name and Title, if any, of Banlcruptcy Petition Preparer Social Security No, (Required byl l U.S.C. § ll().)
150 the bankruptcy petition preparer is not on individual stole the hame, title (I`fony), address and social security number of the ojjl‘icer, principal
responsible person, or partner who signs the documentl

 

 

Addrcss

 

 

Signature of Bankruptcy Petition Preparer Date

Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
is not an individual:

Ifrnore than one person prepared this doci,n'uciu‘J attach additional signed sheets conforming to the appropriate Ojj’i`cial For'm for each person

A bankruptcy petition prcparer's failure to comply with the provision of title ]] and thc F ederal Rules of Bonkruptcy Procedure may result infines or
imprisonment or both ll U.S.C. § 110,' 18 U.S.C. § 156.

 

DECLARATION UNDER PENALTY OF PER.lURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the (the president or other officer or an authorized agent of the corporation or a

 

member or an authorized agent of the partnership) of the
(corporation or partnership`) named as debtor in this case, declare under penalty of perjury that l have read the foregoing summary and
schedules, consisting of m sheets (totul shown on summary page plus l), and that they are true and correct to the best of my
knowledge, infonnation, and belief

 

 

Date: Signature:

 

 

(?n`nt or type name of individual signing on behalf of debtor)
[An individual signing on behuyofa partnership or corporation must indicate position or relationship to debtor.]

Penoltyfor making ofalse statement or concealingpropern): Fine ofup to $500,{)00 or imprisonment for up to 5 years or bolh. 18 U.S.C. §§ 152 and 3571.

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United States Bankruptcy Court
Eastern District of Louisiana

IN RE: Case No.

 

Friend, Richard D Chapter 7
Debtor(s)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a j oint petition may tile a single statement on which the information for both spouses
is combined. lfthe case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses Whether or not a joint petition
is filed, unless the spouses are Separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as theindividual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, ll U‘S.C. § 1 12 and Fed. R. Bankr. P. 1007(m),

Questions l - 18 are to be completed by all debtors Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. lf the answer to an applicable question is “None," mark the box labeled "Nooe." lf additional space is needed for the answer to any question,
use and attach a separate sheet properly identified With the case name, case number (il` known), and the number of the question

DEFINITIONS

”In business " A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership An individual debtor is "in business"
for the purpose of this form if the debtor is or has been, within six years immediately preceding the iilin g of this bankruptcy case, any of` the following:
an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
partner, of a partnership; a sole proprietor or sclf`~cmployed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment

”Insider. " The term "insider" includes but is not limited to: relatives of the debtor; general partners of` the debtor and their relatives; corporations of
Which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 1 l U.S.C. § lOl.

 

1. Income from employment or operation of business

N°“" State the gross amount of income the debtor has received from employrnent, trade, or profession, or from operation of the debtor's business,

]:| including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
case was commencedl State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
maintains, or has maintained, financial records on the basis of` a fiscal rather than a calendar year may report fiscal year income ldentify the
beginning and ending dates of the dcbtor's fiscal year.) lf a joint petition is filed, state income for each spouse separately (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not ajoint petition is filed, unless the spouses are separated and a
joint petition is not filed.)

AMOUNT SOURCE
219,732.00 2008 wages

256,845.00 2009 wages
212,729.39 2010 ytd wages

 

2. Income other than from employment or operation of business

N°“= State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
two years immediately preceding the commencement of this case. Give particulars lf' a joint petition is filed, state income for each spouse
separately. (M arried debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is iiled, unless
the spouses are separated and ajoint petition is not filed.)

 

3. Payments to creditors
Compiete a. or b., as appropriate and c.

N°‘“" a. lndi'vidual or joint debtor(s) with primarily consumer debts.' List all payments on loans, installment purchases of goods or services, and other

|Z debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
constitutes or-is affected by such transfer is less than $6()0. lndicate with an asterisk (*) any payments that were madeto a creditor on account of
a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
counseling agency. (Mam`ed debtors filing under chapter 12 or chapter 1 3 must include payments by either or both spouses whether or not a joint
petition is filed,_ unless the spouses are separated and a joint petition is not filed.)

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N°“"' b. Debtor whose debts are nor primarily consumer debts,' List each payment or other transfer to any creditor made within 90 days immediately

M preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
$5,850.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency (Married
debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
is filed, unless the spouses are separated and ajoint petition is not iiied.)

*Amount subject to adjustment on 4/0]/]3, and every three years thereafter with respect to cases commenced on or ajier the date ofaoj`ustmenr.

 

 

N°“E c. At'[ debtors_: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
|Z' who arc or Were insiders. (l\/larried debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
a joint petition is tiled, unless the spouses are separated and a joint petition is not tiled.)

4. Suits and administrative proceedings, executions, garnishments and attachments

N”"e a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
I____| bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
not a joint petition is tiled, unless the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR
AND CASE NUMBER NATURE OF PROCEEDING AND LOCATION DISPOS¥TION
Signing River Hospital System v. United States District Court for dudgment
Richard D. Friend, M.D., Case the Southern District of

No. 1:08c.v314-LG-RHW Mississippi Southern Division

Richard D. Friend, N|D v. United wrongful denial of health care 19th Judicial District Court for pending
Behavioral Health coverage the Parish of East Baton Rouge

 

 

 

N“"e b, Describe all property that has been attached, garnished or seized under any legal or equitable process Within one year immediater preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
or both spouses whether or not ajoint petition is filed, unless the spouses are separated and ajoint petition is not filed.)

 

 

5. Repossessions, foreclosures and returns

N°“" List all property th at has been repossessed by a creditor, sold at a foreclosure sal e, transferred through a deed in lieu of foreclosure or returned to
the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include inforn‘iation concerning property of either or both spouses Whether or not a joint petition is iiled, unless the spouses are separated and a
joint petition'is not iiled.)

6. Assignments and receiverships

N°“e a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
g (Married debtors liling under chapter 12 or chapter 13 must include any assignment by either or both spouses wh ether or not aj oint petition is tiled,
unless the spouses are separated and joint petition is not tiled.)

 

 

N"“e b. List all property Which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
commencement of this case. (Married debtors tilng under chapter 12 or chapter l3 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not liled.)

7. Gifts

N°"E List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
gifts to family‘members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
per recipient (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
ajoint petition is iiled, unless the spouses are separated and ajoint petition is not riled.)

 

 

8. Losses

N°“¢ List all losses from lire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses Whether or not
ajoint petition is iilcd, unless the spouses are separated and ajoint petition is not filed.)

 

9. Payments related to debt counseling or bankruptcy

N““° List ali payments made or property transferred by or on behalf of the debtor to any persons, including attomeys, for consultation concerning debt
l:l consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
of this case.

DATE OF PAYMENT, NAME OF AMOUNT OF MONEY OR DESCRlPTION
NAME AND ADDRESS OF PAYEE PAYOR IF OTHER THAN DEBTOR AND VALUE OF PROPERTY

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Nlark S. Goldstein 11/30!09 - $2,500.00
701 Poydras Street, Suite 3600 51241'10 - $500.00
New Orleans, LA 79139 7171"10 - $383.50

7120/10 - $1,500.00

 

10. Other transfers

N°ne a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either

|:] absolutely or` as security Within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include transfers by either or both spouses Whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed_)

NAME AND ADDRESS OF TRANSFEREE, DESCRJBE PROPERTY TR.ANSFER_RED
RELATIONSHIP TO DEBTOR DATE AND VALUE RECEIVED

Jeremy And Nleredith Owens 6/7!10 2404 Olde Oak Pointe, Ocean

400 lnverness Court Springs, MS 39564, sales price
Ocean Springs, MS 39564 $359,900.00, all of which went to

closing costs and first mortgage

N°"€ b. List all property transferred by the debtor Within ten years immediately preceding the commencement of this case to a self-settled trust or similar
M device of Which the debtor is a beneficiary

11. Closed financial accounts

N°“E List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor Which were closed, sold, or otherwise
|Z transferred within one year immediately preceding the commencement of this case. lnclude checking, savings, or other financial accounts,
certificates of deposit, or other instruments; shares and Share accounts held in banks, credit unions, pension funds, cooperatives, associations,
brokerage houses and other financial institutions (Married debtors filing under chapter 12 or chapter 13 must include information concerning
accounts or instruments held by or for either or both spouses Whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

 

 

 

12. Safe deposit boxes

N°"e List each safe depositor other box or depository in Which the debtor has or had securities, cash, or other valuabfes Within one year immediately
preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 

 

DATE OF
NAMES AND ADDRESS TRANSFER OR
NAME AND ADDRESS OF BANK OF THOSE WITH ACCESS DESCRIPT!ON OF SURRENDER, IF
OR OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS ANY
First Savings & Loan papers, coins (he|d for
Ocean Springs, MS unc|e)
13. Setoff`s

N°“° List all setoffs made by any creditor, including a bank, against a debtor deposit of the debtor Within 90 days preceding the commencement of this
case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
petition is filcd, unless the spouses are separated and a joint petition is not filed.)

 

 

14. Property held for another person

N“ne List all property owned by another person that the debtor holds or controls.

NAME AND ADDP.ESS OF OWNER DESCRIPTION AND VALUE OF PROPERTY LOCATION OF PROPERTY
Wa|ter Davis ‘ coins safe deposit box at First
594 Libbert Road Savings and Loan
Natchez, MS 39120

Walter Davis stainless and gold men's Roiex watch 747 Libby Lane

594 Libbert Road Mandevi||e, LA 70471

Natchez, N|S 39120

 

 

15. Prior address of debtor

N°“E If debtorhas moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
|:| that period and vacated prior to the commencement of this case. If a joint petition is liled, report also any separate address of either spouse

ADDRESS NAME US'ED DATES OF OCCUPANCY
Mandevil|e Lakes Apartments 2107 - 2108

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108 Oak Alley, Mandevil|e, Louisiana 70471 2108 - 11108

 

16. Spouses and Former Spouses

N°”e lf the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
|:| Nevada, New Mexico, Puerto Rieo, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
identify thc name of the debtor’s spouse and of any fenner spouse who resides or resided with the debtor in the community property state.

NAME
Mary Louanne Friend

17. Environmenta] information
For the purpose of this question, the following definitions apply:

“Environmcntal Law"means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
the cleanup of these substances, wastes or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
debtor, including, but not limited to, disposal sites.

“Hazardous Material” means anything defined as ahazardous waste, hazardous substance, toxic substance, hazardous materi al, poilutant, or contaminant
or similar term under an Environrnental Law.

N°“E a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
potentially liable under or in violation of an Environmental Law. lndicate the governmental unit, the date of the notice, and, if known, the
Environ.mental baw.

N°“E b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. lndicate
the governmental unit to which the notice was sent and the date of the notice.

N°“° c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
is or was a party. lndicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket numbcr.

 

18. Nature, location and name of business

N“"E a. rffthe debtori's an individun!, list the names, addresses, taxpayer identification numbers, nature ofthe businesses, and beginning and ending dates

|:| of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, Solc
proprietor, or was self-empioyed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
preceding the commencement of this case.

Ifthe debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
preceding the commencement of this case.

Ifihe debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses and beginning and ending dates
of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within Six years immediately
preceding the commencement of this case.

LAST FOUR DIGITS
OF SOCIAL-
SECURITY OR OTl-IER
lNDIViDUAL
TAXPAYER-E.D. NO, NATURE OF BEGINNING AND
NAME (ITIN)/COMPLETE. EIN ADDRESS BUSINESS ENDING DATES
Richard D. Friend, MD, PLLC XX-XXXXXXX Cl'O Richard D. Friend
747 Libby Lane
Mandeville, LA 70471

Beginning 5!05 and terminating 12106, the Debtor owned and operated a medical practice named Richard D. Friend, MD,
PLLC at 3099 Bienvi|le B|vd., Ocean Springs, Mississippi

Richard D. Friend, NlD 747 Libby Lane
Mandevi|!e, LA 704-71

Beginning 8[07, the Debtor has received fees as an independent contractor with the Schumacher Emergency Medicine
Service

 

 

N‘m° b. ldentify any business listed in response to subdivision a., abovc, that is “single asset real estate” as defined in l 1 U.S.C‘ § lOl.

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The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been, within
six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner ot` more than
5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed
in a trade, profession, or other activity, either i"ull- or part~time.

(An individual orjot'nt debtorshould complete this portion of the statement only {fthe debtor is or has been in business as defined above within the six
years immediately preceding the commencement ofrh:'s case. A debtor who has not been in business within those six years should go directly to the
signature pnge.)

 

19. Books, records and financial statements

N°“° a. List all bookkeepch and accountants who within the two years immediateiy preceding the filing of this bankruptcy case kept or supervised the
keeping of books of account and records of` the debtor.

N““‘°' b. List ali tirms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books of account
and records, or prepared a financial statement of the debtor.

 

N°"'= c. List all firms or individuals who at the time of the commencement of this case were in possession of` the books of account and records of the
|:| debtor. lf any of the books of account and records are not available, explain.

NAME AND ADDRESS
Stan|ey J. Mongrue, CPA
2817 Harvard Avenue
Metairie, LA 70006

N°“° d List all financial institutions, creditors, and other parties including mercantile and trade agencies to whom a financial statement was issued
|:] within the two years immediately preceding the commencement of the case by the debtor

NAME AND ADDRESS DATE ISSUED
BancorpSouth Mortgage

3778 West Jackson Street

Tupelo, MS 38801

Standard Ntortgage
701 Poydras Street
New Or|eans, LA 70139

 

 

20. Inventories

N°“e a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
dollar amount and basis of each inventory.

 

N°“° b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.

 

21. Current Partners, Ot"ticers, Directors and Shareholders
N°“€ a. If` the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership,

N°”= b. lf` the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls,
M or holds 5 percent or more of the voting or equity securities of the corporation.

 

22. Former partners, oi'ficers, directors and shareholders

N°”E a. if the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement
of` this case, ,r

 

N°”° b. lf the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately
preceding the commencement of this case.

 

 

23. Withdrawals from a partnership or distributions by a corporation

N°“e If the debtor is apartnership or corporation, list all withdrawais or distributions credited or given to an insider, including compensation in any form,
bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediateiy preceding the commencement of this
case.

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24. Tax Consolidation Group

N°n"- If the debtor is a eorporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated group for tax
|Z purposes of which the debtor has been a member at any time Within six years immediately preceding the commencement of the case.

 

 

25. Pension Funds'.

N°nc h°thc debtor is not an individual, list thc name and federal taxpayer identification number of any pension fund to Which the debtor, as an employcr,
|;_7[ has been responsible for connibuting at any time Within six years immediately preceding the commencement of the case,

 

[H completed by nn individual or individual and Spouse]

l declare under penalty of perjury that I have read the answers contained in the foregoing Statement of financial affairs and any attachments
thereto and that they are true and correct

Date: August 26, 2010 signature 0 ‘ //l,v-/ ‘

ofDebtor / Richard D Friend

Date: Signature
of Joint Debtor

(if any)

 

0 continuation pages attached

Penaltyj?)r making afaise statement Fine ofup to $500,0()0 or imprisonment for up to 5 years or both 18 US.C. § 152 and 35 71 .

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BS (Oi‘l`lcial Form 8) (121'08)
United States Bankruptcy Court
Eastern District of Leuisiana

IN RE: Case No.

Friend, Richard D _ Chapter 7
Debtor(s)

CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A _ Debts secured by property of the estate. (Pari A must be fully completed for EACH debt which is secured by property ofthe
estatel Attach additional pages if necessary )

 

 

 

 

 

Property No. l
Creditor’s Name: Describe Property Securing Debt:
Standard Mortgage residence at 747 Libby Lane, Mandevi|le, Louisiana 70471

 

 

Property will be (check one):
:| Surrendered MRetained

If retaining the property, I intend to (cl'teclc at least one)!
m Redeern the property
|ZlReaftirm thc debt
[:l Other. Explain (for example, avoid lien using 11 U.S.C. § 522($).

Property is (check orie):
Claimed as exempt l:] Not claimed as exempt

 

 

 

Property No. 2 (it`necessary)

 

Creditor’s Name: Describe Property Securiug Debt:

 

 

Property will be (checlc one):
|:l Surrendered |:] Retained

If retaining the property, l intend to (clteck at least one).'
|:] Redeem the property
|:l Reaftirtn the debt
|:l Other. Explain (for example, avoid lien using ll U.S.C. § 522(@).

Property is (check one):
|:| Claimed as exempt [:] Not claimed as exempt

 

 

 

 

PART B ~ Personal property subject to unexpired leases. (All three columns ofPartB must be completed for each unexpired lease Attach
additional pages y‘”necessttry.)

 

 

 

 

 

 

Property No, l
Lessor’s Name: l Describe Leased Property: Lease will be assumed pursuant to
Inf"lniti Financia| Services lease of 2008 lnfiniti 637 ll U.S.C. ` 365(p)(2):
|:I Yes No
Property No. 2 (ifnecessary)
Lessor’s Name: Describe Leased Property: Lease will be assumed pursuant to
ll U.S.C. § 365(p)(2):
l l:] Yes I:] No

 

 

 

 

continuation sheets attached (ifany)

I declare under penalty of perjury that the above indicates my intention as any pr erty dynamite securing a debt and/or
personal property subject to an unexpired lease.

Date: nMm_~_)P\_~ugust 2§1_M201O g% /

 

Signature of Debtor

 

Signature of Joint Debtor

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United States Bankruptcy Court
Eastern District of Louisiana

IN RE: - Case No.

 

Friend, Richard D Chapter 7
Debtor(s}

VERIFICATION OF CREDI OR MATRIX
The above named debtor(s) hereby verify(ies) that the attached mat '

    
 

listing creditors is true to the best ofmy(our) knowledge

/
a./

Richard D Friend Debtor

 

Date: Auqust 26, 2010 Signature:

Date: ' Signature:

 

Joint Debtor, if any

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Bancorp$cuth
P.O. Box 789
Tupelo, MS 38802

BancorpSOuth
P.O. Box 3370
Tupelo, MS 38803-3370

BancorpSOuth Mortgage
Mortgage Loan Center
P.O. Box 789

Tupelo, MS 38802

Bancorp$outh Mortgage
3778 Weet Jackeon Street
Tupelo, MS 38801

Bank Of America
P.O. Box 851001
Dallas, TX 75285-1001

Brett K. Williame
711 Delmas Avenue
Paecagoula, MS 39568

Brett K. Williams
P.O. Box 1618
Paecagoula, MS 39568»1618

Carl HOW

Recovery Dept., BancorpSOuth
P.O. BOX 1231

Hattieeburg, MS 39403

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CBE Group
P.O. Box 2695
Waterloo, IA 50704-2695

CBE Group
P.O¢ Box 2647
Waterloo, IA 50704-2647

Chase Card Services
P.O. BOX 94014
Palatine, IL 60094-4014

Chevron/GE Money
P.O. BOX 530950
Atlanta, GA 30353-0950

Chrie Andereon, Chief Executive Officer
Singing River Hospital System

2101 Highway 90

Gautier, MS 39553

Client Services, Inc.
3451 Harry Truman Blvd.
St. Charles, MO 63301-4047

GE Money Bank
P.o. Box 36960
canten; on 44735

Houston Estates Utility
3341 Gatti Place
Gautier, MS 39553

Infiniti Financial Servicee
P.O. BOX 650679
DallaS, TX 75265~0679

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Internal Revenue Service
P.O. BOX 16336
Philadelphia, PA 19114-0436

Internal Revenue Service
Ogden, UT 84201-0039

Louieiana Dept. Of Revenue
P.O. Box 1231
Baton Roug@, LA 70821-1231

Lowe'e/GEMB
P.O. BOX 530914
Atlanta, GA 30353-0914

LTD Financial Services, L.P.
7322 Southwest Freeway, Suite 1600
HOuStOn, TX 77074

Missouri Higher Education Loan Authority
P.O. Box 1022
Chesterfield, MO 63006-1022

Ochener Medical Center
P.O. BOX 60981
New Orleans, LA 70160-0981

Randy Smith
201 St. Charles Avenue, Suite 3702
New Orleane, LA 70170-3702

Roy C. Williams
Regietered Agent

711 Delmae Avenue
Pascagoula, MS 39567

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Seare
P.O. Box 688956
Des Moines, IA 50368-8956

Shell Card Cent@r

Citicorp Credit Servicee, Inc.
P.O. BOX 689151

Des Moinee, IA 50368~9151

Singing River Hospital System
C/O Brett K. Williams

P.O. Box 1407

Pascagoula, MS 39568-1407

Standard Mortgage
701 Poydrae Street
New Orleane, LA 70139

The Law Office Of John P. Frye, P.C.
P.O. Box 13665
Roanoke, VA 24036-3665

The Law Office Of John P. Frye, P.C.
P.O. BOX 11767
Roanoke, VA 24022-1767

IN RE: Case No.
Friendr Richard D Chapter 7

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United States Bankruptcy Court
Eastern District of Louisiana

 

Debtor(s}
DISCLOSURE OF COMI’ENSATION OF ATTOR.NEY FOR DEBTOR

Pursuant to 1 l U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that l am the attorney for the above-named debtor(s) and that compensation paid to me within
one year before the tiiing of the petition in bankruptcy, or agreed to bc paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
of or in connection with the bankiuptcy case is as follows:

For legal services, l have agreed to accept ............................................................................ $ 2,50000
Prior to the filing of this statement l have received ..................................................................... $ _W__m'_lw,§Qowoo
Balance Due .................................................................................................. $ 1,000.00

The source of the compensation paid to me was: MDebtor l:l Other (specify):
The source of compensation to be paid to me is: MDebtor l:l Other (specify):
El l have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

il l have agreed to share the above-disclosed compensation With a person or persons who are not members or associates of my law fum. A copy ol" the agreement,
together With a list of the names ofthe people sharing in the compensation, is attached

ln return for the above-disclosed fee, l have agreed to render legal service for all aspects ofthe bankruptcy case, including:

Ana]ysis of the dcbtor's financial situation7 and rendering advice to the debtor in determining whether to tile a petition in banlo'uptcy;
Preparation and filing of any petition, scliedulcs, statement of affairs and plan which may be required;
Representatiori of the debtor at the meeting of creditors and confirmation heaii.ng, and any adjourned hearings thereof;

 

np-.G,e‘i==

[Other provisions as needed]

By agreement with the debtor(s), the above disclosed fee does not include the following services:

 

 

CERTIFICATION

l certify that the foregoing is a complete statement of any agreement arrangement for payment to me for representation of the debtor(s) in this bankruptcy
proceeding -- " l

August 26, 2010 - -
Daie _ Mark s. oolds`i'e'in sosa
Mark S. Goldstein
701 Poydras Street, Suite 3600
New Orleans, LA 70139-'»'735
(504) 581-2450 Fax: (504) 531-2461
mgo|dstein@lshah.com

 

 

 

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BzoiA (FOi-m zoiA) (12/09)

 

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under
Bankruptcy Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2

UNITED STATES BANKRUPTCY COURT

Norics To CoNsUMER DEBToR(s) UNDER §342(b)
or run BANKRUPTCY conn

In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (l)
Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
costs of the four types of bankruptcy proceedings you may commence; and (3) lnforms you about bankruptcy crimes and
notihes you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described Thus, you may wish to seek the
advice of an attorney to learn of your rights and responsibilities should you decide to nle a petition Court employees
cannot give you legal advice

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition In order to
ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
court of any changes in your address If you are filing a joint case (a single bankruptcy case for two individuals married to
each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
statement with the court requesting that each spouse receive a separate copy of all notices

1. Services Available from Credit Counseling Agcncies

With limited exceptions, § l(}9(h) of the Bankruptcy Code requires that all individual debtors Who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
credit counseling and provides assistance in performing a budget analysis The briefing must be given Within 180
days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
approved budget and credit counseling agencies Each debtor in a joint case must complete the briefing

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge The clerk also has a list of approved
financial management instructional courses Each debtor in a joint case must complete the course

2. The Four Chapters of the Bankruptcv Code Available to lndividual Consumer Debtors

Chapjeg_]: Liquidation (5245 filing fee, $39 administrative fee, 815 trustee surcharge: Total fee $299)

Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
shouid be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
have the right to tile a motion requesting that the court dismiss your case under § 707(10) cf the Code. lt is up to the court
to decide whether the case should be dismissed

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors

The purpose of filing a chapter 7 case is to obtain a discharge of` your existing debts If, however, you are found to
have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your

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B201A (Forrn ZOIA) (12/09) Page 2

discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated nom alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged

le_luapt_§r__lm§_: Repayment of All or Part of the Debts of an Individual With Regular Incomc ($235 filing fee,
S39 administrative fee: Total fee 52'74)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
set forth in the Bankruptcy Code,

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
them, using your future earnings The period allowed by the court to repay your debts may be three years or five years,
depending upon your income and other factors The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
secured obligations

¢Ql,ra_pter…_lm`_rlm: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

Chapter ll is designed for the reorganization cfa business but is also available to consumer debtors Its
provisions are quite complicated, and any decision by an individual to file a chapter ll petition should be reviewed with
an attorney.

Chapter12 Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is Sirnilar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation

3. Bankruntcv Crimes and Ava_i!abilitv of Bankruptcv Papers to Law Enforcemcnt Off`icials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney Generai
acting through the Office of the United States Trustee, the Office of the United States Attomey, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(l) of the Bankruptcy Code requires that you promptly file detailed information regarding
your creditors, assets, liabilities, income, expenses and general financial condition Your bankruptcy case may be
dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
BZOO, Which iS 1303de at.htintffmmwn§snnn§ignrw/hlsfnnn§ibarilnnnt§rnfnnnnhtnnfnr@Cedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to
require action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(|)), filing a chapter
13 plan; Rule 8009(;1), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.

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United States Bankruptcy Court
Eastern District of Louisiana

IN RE: Case No.

Friend, Richard D Chapter 7
Debtor(s)

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) OF ’I`HE BANKRUPTCY CODE

 

Certif'icate of [Non-Attorney] Bankruptcy Petition Preparer

l, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
notice, as required by § 342(b) of the Bankruptcy Code.

 

Printed Name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy
Address; y petition preparer is not an individual, state
the Social Security number of the officer,
principal, responsible person, or partner of
the bankruptcy petition preparer,)
(Required by ll U.S.C. § 110.)

 

 

X
Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
partner whose Social Security number is provided above.

 

Certificate of the Debtor

   

l (We), the debtor(s), affirm that I (we) have received and read the attached notice, as requir by § 342 ) of the Bankruptc ode.

  

 

 

 

 

Friend, Richard D X v 8[26!20‘¥0

Printed Name(s) of Debtor(s) Signature of Debtor Date

Case No. (if known) X _
Signature of Joint Debtor (if any) Date

 

Instructions: Attach a copy ofForm B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has

NOT been made on the Voluntary Petition, Official Forrn B l. Exhibit B on page 2 of Forrn Bl contains a certification by the debtor’s
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
page 3 of Form Bl also include this certification

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BZZA (Omcial Form zzA) (Chapter 7) (04/10) According to the information required to be entered on this
statement (check one box as directed in Part I, HI, or VI of this
statement):

|:| The presumption arises

|:| The presumption does not arise

I:F'd,R'th .. .. .
nrc men |c ar german |:|The presumption rs temporarily mapphcable.

 

Case Number:

 

 

 

(lf` known]

CHAPTER 7 STATEMENT OF CURRENT MONTHLY lNCOME
AND MEANS-TEST CALCULATION

In addition to Schedules l and f, this statement must be completed by every individual chapter 7 debtor, whether or not filing jointiy.
Unless the exclusion in Line lC applies, joint debtors may complete a single statement lf the exclusion in Line lC applies, each joint
tiler must complete a separate statement

 

Part I. l\/IILITARY AND NON-CONSUMER DEBTORS

 

Disabled Veterans. if you are a disabled veteran described in the Veteran’s Declaration in this Part l, (1) check the box at
the beginning of the Veteran’s Declaration, (2) check the box for “The presumption does not arise” at the top of this
Statement, and (3) complete the verification in Part Vll[. Do not complete any of the remaining parts of this statement

 

lA
[:| Veteran’s Declaration. By checking this box, I declare under penalty of perjury that l am a disabled veteran (as defined
in 3 8 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which l was on active duty (as defined in
10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32 U.S.C. §901(1)).
Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and complete the verification
IB in Part VIII. Do not complete any of` the remaining parts of this statement

M])eelaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

 

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
of the Arrned Forces and members of the Natlonal Guard who were called to active duty (as defined in 10 U.S.C. §

101 (d)( l)) after September ll, 2001, for a period of at least 90 days, or who have performed homeland defense activity (as
defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the time
of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for this
temporary exclusicn, (l) check the appropriate boxes and complete any required information in the Declaration of
Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
top of this statement, and (3) complete the verification in Part VHI. During your exclusion period you are not required to
complete the balance of this forrn, but you must complete the form no later than 14 days after the date on which your
exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your case before
your exclusion period ends.

|:| Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries
lC below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
component of the Armed Forces or the National Guard

a. \:| I was called to active duty after September ll, 2001, for a period of at least 90 days and
i:| l remain on active duty /or/
§:] l was released from active duty on , which is less than 540 days before this
bankruptcy case was filed;

OR
i). |___l l am performing homeland defense activity for a period of at least 90 days /or/

[:| l performed homeland defense activity for a period of at least 90 days, terminating on mw ,
which is less than 540 days before this bankruptcy case was filed.

 

 

 

 

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BZZA (Official Form 22A) (Chapter 7) (04."10)

 

Part II. CALCULATION 0F MoNTHLY INCOME FOR § 707(b)(7) EXCLUSION

 

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed
a. |:| Unrnarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

b. [:| Married, not filing jointly, with declaration of separate households By checking this box, debtor declares under
penalty of perjury: “My spouse and l are legally separated under applicable non-bankruptcy law or my spouse and I
are living apart other than for the purpose of evading the requirements of § 707'(b)(2)(A) of the Bankruptcy Code.”
Complete only Column A (“Debtor’s Income”) for Lines 3~11.

c. |:| Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both

 

 

2 Column A (“Debtor’s Income”) and Column B (“Spousc’s Income”) for Lines 3-11.

d. |:| Married, filing jointly. Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for
Lines 3-11.

All figures must reflect average monthly income received from all sources, derived during Column A Column B
the six calendar months prior to filing the bankruptcy case, ending on the last day of the Debtoras Spouse,S
month before the filing If the amount of monthly income varied during the six months, you income Income
must divide the six-month total by six, and enter the result on the appropriate line.

3 Gross wages, salary, tips, bonuses, overtime, commissions $ $

 

Income from the operation of a business, profession or farm. Subtract Line b from Line
a and enter the difference in the appropriate column(s) of Line 4. If you operate more than
one business, profession or farm, enter aggregate numbers and provide details on an
attachment Dc not enter a number less than zero. Do not include any part of the business
4 expenses entered on Line b as a deduction in Part V.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Gross receipts $
b. Ordinary and necessary business expenses $
c. Business income Subtract Line b from Line a $ S
Rent and other real property income. Subtract Line b from Line a and enter the
difference in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do
not include any part of the operating expenses entered on Line b as a deduction in
Part V.
5
Gross receipts ' $
b. Ordinary and necessary operating expenses $
c. Rent and other real property income Subtract Line b h‘om Line a
6 Interest, dividends, and royalties
7 Pension and retirement income.
Any amounts paid by another person or entity, on a regular basis, for the household
8 expenses of the debtor or the debtor’s dependents, including child support paid for
that purpose. Do not include alimony or separate maintenance payments or amounts paid
by your spouse if Column B is completed $ $

 

Unemployment compensation Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a beneht under the Social Security Act, do not list the amount of such compensation in
9 Column A or B, but instead state the amount in the space belcw.'

 

Unemployment compensation
claimed to be a benefit under the
Social Security Act Debtor $ Spouse $ $ $

 

 

 

 

 

 

 

 

 

 

 

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B22A Ofiicial Form 22A) (Chapter 7) (04."10)

 

10

Income from all other sources Specify source and amountl Ifnecessary, list additional
sources on a separate page. Do not include alimony or separate maintenance payments
paid by your spouse if Column B is completed, but include all other payments of
alimony or separate maintenance Dc not include any benefits received under the Social
Security Act or payments received as a victim of a war crirne, crime against humanity, or as
a victim of international or domestic terrorism.

 

a.
b. 5

Total and enter on Line 10 $

 

 

 

 

 

 

 

ll

Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s). $

 

12

Total Current Monthly Income for § 707(b)(7). If Column B has been completed, add
Line 1 1, Column A to Line l 1, Column B, and enter the total. lf Column B has not been
completed, enter the amount from Line 1 1, Column A. $

 

 

 

Part 111. APPLICATION or § 707(3)(7) EXCLUSION '

 

13

Annualized Current Monthly Income for § 7 07(b)(7). Multiply the amount from Line 12 by the number
12 and enter the result.

 

14

Applicable median family income. Enter the median family income for the applicable state and
household size. (This information is available by family size at mvywwv\;usdoigpyM[WuMth¢/f or from the clerk of
the bankruptcy court.)

a. Enter debtor’s state of residence: b. Enter debtor’s household size: …*

 

 

 

15

 

Application of Section707(b)(7). Check the applicable box and proceed as directed

|:| The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “Tlie presumption does
not arise” at the top of page 1 of this statement, and complete Part VllI; do not complete Parts IV, V, VI, or VIl.

|:l The amount on Line 13 is more than the amount on Line 14. Complete the remaining parts of this statement

 

Complete Parts IV, V, VI, and VII of this statement only if required. (See Line 15.)

 

Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2}

 

16

Enter the amount from Line 12.

$

 

17

Marital adjustment If you checked the box at Line Z.c, enter on Line 17 the total of` any income listed in
Line 11, Column B that Was NOT paid on a regular basis for the household expenses of the debtor or the
debtor’s dependents Specify in the lines below the basis for excluding the Column B income (such as
payment of the spouse’s tax liability or the spouse’s support of persons other than the debtor or the
debtor’s dependents) and the amount of income devoted to each purpose. lf necessary, list additional
adjustments on a separate page. if you did not check box at Line 2.c, enter zero.

a. $
b. $

 

 

 

 

 

 

 

c . ' $

Total and enter on Line 17.

 

 

18

 

Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

 

 

Part V. CALCULATION OF DEDUCTION'S FROM INCOME

 

Subpart A: Deductions under Standards of the Internal Revenue Service `(IRS)

 

19A

 

 

National lStandards: food, clothing and other items. Enter in Line 19A the “'I`otal” amount from IRS
National Standards for Food, Clothing and Other Items for the applicable household size. (This information
is available at Mkusdo]gov/ust/ or from the clerk of the bankruptcy court.)

 

 

 

 

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1913

National Standards: health care. Enter in Line al below the amount from IRS National Standards for
Out-of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for
Out-of-Pocket Health Care for persons 65 years of age or older. (This information is available at
www.usdoj gov/usg or from the clerk of the bankruptcy court,) Enter in Line b1 the number of members of
your household who are under 65 years of age, and enter in Line b2 the number of members of your
household who are 65 years of age or older. (The total number of household members must be the same as
the number stated in Line 14b.) Multiply Line al by Line b1 to obtain a total amount for household
members under 65, and enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for
household members 65 and older, and enter the result in Line cZ. Add Lines cl and c2 to obtain a total
health care amount, and enter the result in Line l9B.

 

Household members under 65 years of age Household members 65 years of age or older

 

al. Allowance per member a2. Allowance per member

 

bl. Number of members b2. Number of members

c 1. Subtotal c2. Subtotal

 

 

 

 

 

 

 

 

 

 

 

20A

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount ofthe IRS Housing
and Utilities Standards; non-mortgage expenses for the applicable county and household size. (This
information is available at wwwusdojgov/ustf or from the clerk of the bankruptcy court).

 

ZOB

' Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of

the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this
information is available at wwwusdo]gov/ust/ or from the clerk of the bankruptcy court); enter on Line b

_ the total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42;

subtract Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

 

a. lRS Housing and Utilities Standards; mortgage/rental expense $

 

b. Average Monthly Payrnent f`or any debts secured by your home, if
any, as stated in Line 42 $

 

 

 

 

 

c. Net mortgage/rental expense Subtract Line b from Line a

 

 

21

Local Standards: housing and utilities; adjustment lf` you contend that the process set out in Lines ZOA
and ZOB does not accurately compute the allowance to which you are entitled under the lRS Housing and
Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis
for your contention in the space below:

 

22A

Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle
and regardless of whether you use public transportationl

Check the number of vehicles for which you pay the operating expenses or for which the operating
expenses are included as a contribution to your household expenses in Line 8.

l:]O |:ll EZorrnore.

lf you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
Transportation. lf you checked l or 2 or more, enter on Line ZZA the “Operating Costs” amount from IRS
Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region. (These amounts are available at Musdp~]ggpwyyfgsg or nom the clerk
of the bankruptcy court.)

 

2213

 

 

Local Standards: transportation; additional public transportation expense. if you pay the operating
expenses lfor a vehicle and also use public transportation, and you contend that you are entitled to an
additional deduction for your public transportation expenses, enter on Line 22B the “Public
Transportation” amount from IRS Local Standards: Transportation. (This amount is available at
www.usdoj .gov/ust/ or from the clerk of the bankruptcy court.)

 

 

 

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23

. Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for

which you claim an ownership/lease expense (You may not claim an ownership/lease expense for more

' than two vehicles.)

|:| l |:| 2 or more.
Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards:

the total cf the Average Monthly Payrnents for any debts secured by Vehicle l, as stated in Line 42;
subtract Line b from Line a and enter the result in Line 23. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs $

 

Average Monthly Payrnent for any debts secured by Vehicle l, as
b. stated in Line 42 $

c. Net ownership/ lease expense for Vehicle l Subtract Line b from Line a

 

 

 

 

 

 

24

Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
checked the “2 or more” Box in Line 23.

Enter, in Line a below, the “Owncrship Costs” for “One Car” from the IRS Local Standards:
Transportation (available at wwwusdolgov/ust/ or nom the clerk of the bankruptcy court); enter in Line b
the total of the Average Monthly Payments for any debts secured by Vehicle 2, as Stated in Line 42;
subtract Line b from Line a and enter the result in Line 24. Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs, Second Car $

 

 

Average Monthly Payment for any debts secured by Vehicle 2, as
b. stated in Line 42 $

c. Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a

 

 

 

 

 

 

 

25

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment
taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.

 

26

Other Necessary Expenses: involuntary deductions for employment Enter the total average monthly
payroll deductions that are required for your employment, such as retirement contributions, union dues,
and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions

 

27

Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay
for term life insurance for yourself Do not include premiums for insurance on your dependents, for
Whole life or for any other form of insurance.

 

28

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
payments Do not include payments on past due obligations included in Line 44.

 

29

Other Necessary Expenses: education for employment or for a physically or mentally challenged
child. Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available

 

30

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend
on childcare 4- such as baby-sitting, day care, nursery and preschool. Do not include other educational

p ayrnents.

 

31

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually

expend on health care that is required for the health and welfare of yourself or your dependents, that is not
reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.

 

32

Other Necessary Expenses: telecommunication services Enter the total average monthly amount that
you actually pay for telecommunication services other than your basic horne telephone and cell phone
service _ such as pagers, call waiting, caller id, special long distance, or internet service 4 to the extent
necessary for your health and welfare or that of` your dependents Do not include any amount previously
deducted.

 

 

33

 

Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

 

 

 

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BzzA roman Farm 22A) (Chapter 7) (04/10)

Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

 

 

n Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your
spouse, or your dependents `

 

a. Health Insurance $

 

b. Disability Insurance $

 

34

 

 

 

 

c. Health Savings Account $

 

Total and enter on Line 34

If you do not actually expend this total amount, state your actual total average monthly expenditures in
the space.below:

 

Continued contributions to the care of household or family members Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses $

 

35

 

Protection against family violence. Enter the total average reasonably necessary monthly expenses that
you actually incurred to maintain the safety of your family under the Family Violence Prevention and
Services Act or other applicable federal law. The nature of these expenses is required to be kept
confidential by the court. $

36

 

Home energy costs Enter the total average monthly amount, in excess of the allowance specified by lRS
Local Standards for Housing and Utilities, that you actually expend for home energy costs You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate
that the additional amount claimed is reasonable and necessary. $

37

 

Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $147'.92* per child, for attendance at a private or public elementary or
38 secondary school by your dependent children less than 18 years of age. You must provide your case
trustee with documentation of your actual expenses, and you must explain Why the amount claimed
is reasonable and necessary and not already accounted for in the IRS Standards $

 

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
39 National Standards, not to exceed 5% ofthose combined allowances (This information is available at

additional amount claimed is reasonable and necessary. $

 

Continued charitable contributions Enter the amount that you will continue to contribute in the form of

40 cash or financial instruments to a charitable organization as defined in 26 U.S.C. § l70(c)(1)-(2). $

 

41 Total Additional Expense Deductions under § 7 07 (b). Enter the total of Lines 34 through 40

 

 

 

 

 

*Amount subject tc adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date ofaa[}`ustmeni.

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Subpart C: De`ductions for Debt Payment

 

42

Future payments on secured claims. For each of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payrnent, and check whether the payment includes taxes or insurance The Average Montbly Payrnent is
the total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months
following the filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate
page. Enter the total of the Average Monthly Payments on Line 42.

 

Average Does payment
Monthly t include taxes or
Name of Creditor Property Securing the Debt Payment insurance?

 

$ |:|yes l:|no

 

b. $ |:| yes |:| no

 

 

c. l l n l $ |:]yes |:|no

 

Total: Add lines a, b and c.

 

 

 

 

 

 

 

43

Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction l/ 60th of any amount (the “cure amount”) that you must pay the
creditor in addition to the payments listed in Line 42, in order to maintain possession of the property. The
cure amount would include any sums in default that must be paid in order to avoid repossession or
foreclosure List and total any such amounts in the following chart. If necessary, list additional entries on a
separate page.

 

l/ 60th of the
Name of Creditor Property Securing the Debt Cure Amount

 

$

 

a.
b. $

 

 

c. $

 

 

 

 

Total: Add lines a, b and c.

 

 

 

'4'4

Payments on prepetition priority elaims. Enter the total amount, divided by 60, of all priority claims,
such as priority tax, child support and alimony claims, for which you were liable at the time of your
bankruptcy tiling. Do not include current obligations, such as those set out in Line 28.

 

45

Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
following chart, muftiply the amount in line a by the amount in line b, and enter the resulting
administrative expense

 

Pr'oj ected average monthly chapter 13 plan payment $

 

b. Current multiplier for your district as determined under
schedules issued by the Executive Office for United States
Trustees. (This information is available at
www.usdoil.`go~y_/“us~nm' or from the clerk of the bankruptcy
court.) X

 

c. Average monthly administrative expense of chapter 13 Total'. Multiply Lines a
case and b

 

 

 

 

 

 

46

 

Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

 

 

Subpart D: Total Deductions from Income

 

 

47

Total of all deductions allowed under § 707(b)(2). Enter the total ofLines 33, 41, and 46.

l_$

 

 

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ran vr. DETERMINATION or § 707(1»)(2) PRESUMPTION

 

48 Enter the amount from Line 18 (Current monthly income for § 707(b)(2)) $

 

_ 49 Enter the amount from Line 47 (Total of all deductions allowed under § 707(b)(2))

 

50 Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result. $

 

60-m0nth disposable income under § 707 (b)(Z). Multiply the amount in Line 50 by the number 60 and

51 enter the result. $

 

 

Initial presumption determination Check the applicable box and proceed as directed

|:| The amount on Line 51 is less than $7,025*. Check the box for “The presumption does not arise” at the top of page l
of this statement, and complete the verification in Part VIII. Do not complete the remainder ofPart VI.

52 |:| The amount set forth on Line 51 is more than $11,725*. Check the box for “The presumption arises” at the top of
page l of this statement, and complete the verification in Part VIII. You may also complete Part VII. Dc not complete
the remainder of Part VI.

|:| The amount on Line 51 is at least $7,025*, but not more than $11,725*. Complete the remainder ofPart VI (Lines
53 though 55).

 

53 Enter the amount of your total non-priority unsecured debt $

 

Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the

54 result. $

 

 

Secondary presumption determination Check the applicable box and proceed as directed

|:| The amount on Line 51 is less than the amount on Line 54. Check the box for “The presumption does not arise” at

55 the top of page 1 of this statement, and complete the verification in Part VIII.

|:| The amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
arises” at the top of page l of this statement, and complete the verification in Part VIII. You may also complete Part
VH.

 

Part VII. ADDITIONAL EXPENSE CLAIMS

 

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your family and that you contend should be an additional deduction nom your current monthly
income under § 707(b)(2)(A)(ii)(I). lf necessary, list additional Sources on a separate page. All figures should reflect your
average monthly expense for each item. Total the expenses

Expense Description Monthly Arnount
56

$
$
$
$

Total: Add Lines a, b and c

 

 

Part VIII. VERIFICATIW

 

   
 

statement is true and correctl (Bf'tht`s o joint case,

»-/i/

(Debtor)

l declare under penalty of` perjury that the information provided in th`
both debtors must sign.)

57 Date: Augustzezow Signawe:

Date: WW_ Signature:

 

(Joi.nt Debtor, ifa.ny}

 

 

 

 

* Amoant subject to aaj"ustment on 4/0]/13, and every three years thereafter with respect to cases commenced on or after the date afaajfustment.

